                        Case 8-10-78270-reg                            Doc 1         Filed 10/21/10                  Entered 10/21/10 10:37:51

Bl
                                       UNITED STATES BANKRUPTCY COURT

                                       Eastern District of New York
                                Hal, enter Last, First,                                               Name
                                :)inette
      Other Names used by t1',e Debtor in the last 8 years                                            All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, aJd trade names):                                                         (include married, maiden, and trade names):


  Last      digits of Soc , Sec. or Individual-Taxpayer to. (ITIN)lComplete EIN                       Last four digits of Soc, Sec. or Individual-Taxpayer to. (ITIN)JComplete
  (if more than one, state all):                                                                      (if more than one, state all):
    7732                           __~__~__~~____________~~__~__~~~~~~~~__~~________-;
  Street                      (J\ ).
    13 Oakland Drive North
    Riverhead, NY



                                                    street address):                                                                                        from street address):




             of Principal Assets ,}f Business

                       Type of Debtor                                           Nature of Business                                    Chapter of Bankruptcy Code Under Which
                   (Form of Org,mization)                                        (Check one box.)                                       the Petition is Filed (Check one box.)
                      (Check on, box.)
                                                                    o 	 Health Care Business                              o        Chapter 7            o       Chapter IS Petition for
 III     Individual (includes JOillt Debtors)                       o Single Asset Real Estate as defined in              o        Chapter 9                    Recognition of a Foreign
         See Exhibit D on page ~, ofthis form,                          II U.S.C. § 10 I (SIB)
                                                                    o 	 Railroad                                          o	       Chapter II                   Main Proceeding
 o	      Corporation (includes L LC and LLP)                                                                              o        Chapter 12           o       Chapter IS Petition for
 o	      Partnership                                                o Stockbroker                                         ~      	 Chapter 13                   Recognition of a Foreign
 o	      Other (If debtor is not 0 Ie of the above entities,        o 	 Commodity Broker                                                                        Nonmain Proceeding
         check this box and state type of entity below.)            o Clearing Bank
                                                                    o 	 Other                                                                       Nature of Debts
                                                                                                                                                    (Check one box.)
                                                                                Tax-Exempt Entity
                                                                             (Check box, if applicable.)                  ~ Debts
                                                                                                                             	     are primarily consumer            o   Debts are primarily
                                                                                                                            debts, defined in II U.S ,C.                 business debts.
                                                                    o 	 Debtor is a tax-exempt organization                 § 101(8) as "incurred by an
                                                                         under Title 26 of the United States                individual primarily for a
                                                                         Code (the Internal Revenue Code),                  personal, family, or house-

                                   J iling                one box.)
                                                                                                     Check one box:
o 	 Full Filing Fee attached.                                                                        o	  Debtor is a small business debtor as defined in I I U.S.C. § IOI(5IO).

I!Zl 	   Filing Fee to be paid in iI,stallments (applicable to individuals only). Must attach
                                                                                                     o	  Debtor is not a small business debtor as defined in II U.S.C. § 101 (5 IO).

         signed application for the court's consideration certifying that the debtor is              Check if:
         unable to pay fee except 11 installments. Rule 1006(b). See Official Form 3A.               o 	 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                            insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
o 	 Filing Fee waiver requcst',d (applicable to chapter 7 individl1al~ only). Must                          on 4101113 and every three years thereafter).
         attach signed application lor the court's consideration. See Official Form 38.
                                                                                                     Check all applicable boxes:
                                                                                                     o 	 A plan is being filed with this petition.
                                                                                                     o 	 Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                            ~ •. "'h;I"~,",   in accordance with 1 I U.S.c.
Statistical/Administrative Inf(lrmation                                                                                                                                      THIS SPACE IS FOR
                                                                                                                                                                             COURT USE ONLY
o         Debtor estimates thai funds will be available for distribution to unsecured creditors,
o         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                      to unseclred creditors.
Estimated Number of Creditors
I!Zl
1-49
               0
               50-99
                              [J
                               100-1'~9
                                                o               o               o                o10,001-           o                   o50,001-            o
                                                200-999         1,000-          5,001-                             25,001-                                  Over
                                                                5,000           10,000           25,000            50,000               100,000             100,000
             Assets
0              0              ~                 0               0               0                0                 0                    0                   0
$0 to          $50,001 to     $100,101 to       $500,001        $1,000,001      $10,000,001      $50,000,001       $100,000,001         $500,000,001        More than
$50,000        $100.000       $500,1,00         to $1           to $10          to $50           to $100           to $500              to $1 billion       $1 billion
                                                million                                          million
Estimated Liabilities
0              0              E1                0               0               0                0                 0                    0                   0
$0 to          $50,001 to     $100,01] to       $500,001        $1,000,001      $ I 0,000,00 I   $50,000,001       $ 100,000,00 I       $500.000,001        More than
$50,000        $100,000       $500,C)0          to $1           to$IO           to $50           to$IOO            to $500              to $1 billion       $1 bil1ion
                                                million         million                          million
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B I (Official Form 1) (4/10),                                                                                                                                               Page 2
 Voluntary Petition                                                                                 Name of Debtor{s):
 (This page ~ust be COmJllei ed and filed in ev~caseI                                       letesha Robinette Smith
                                       All Prior BankrllP,t9:. Cases Filed Within Last 8 Years (If more than two, attach additional sheetJ
 Location                                                                                  Case Number:                                    Date Filed:
 Where Filed:
 Location                                                                                  Case Number:                                    Date Filed:
 Where Filed:
                     Pendi,!lg Bankruptcv Case Filed bv any Spouse, Partner, or Affiliate ofthis Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                           Case Number:                                    Date Filed:

 District:                                                                                          Relationship:                                   Judge:
                      Eastern District of New York
                                             Exhibit A                                                                                   ExhibitB 

                                                                                                                         (To be completed if debtor is an individual 

 (To be completed if debtor I': required to file periodic reports (f,g" forms 10K and I OQ)                              whose debts are primarily consumer debts.) 

 with the Securities and Exc: lange Commission pursuant to Section 13 or 15(d) of the
 Securities Exchange Act of :1934 and is requesting relief under chapter II.)                      I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                   have informed the petitioner that [he or she] may proceed under chapter 7, I I, 12,
                                                                                                   or 13 of title II, United States Code, and have explained the relief available under
                                                                                                   each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                   required by II U.S.c. § 342(b).

 0        Exhibit A is attached ~I nd made a part of this petition.                                X
                                                                                                        Signature of Attorney for   Debtor(~     JDa~

                                                                                         Exhibit C

 Docs the debtor own or have :I.ossession of any property that poses or is aUeged to pose a threat of imminent and identifiable harm to public health or safety?

 0        Yes, and Exhibit Cis atached and made a part of this petition.

 ~        No.



                                                                                         Exhibit D

(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     21    Exhibit D completed 811d signed by the debtor is attached and made a part of this petition.

If this is a joint petition:

     0    Exhibit D also complet.d and signed by the joint debtor is attached and made a part of this petition.



                                                                       Information Regarding the Debtor - Venue 

                                                                                 (Check any applicable box.) 

                [!f     Debtor has "een domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately 

                        preceding tho date of this petition or for a longer part of such 180 days than in any other District.

                0	      There is a ba.lkruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                0	      Debtor is a d,:btor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                        no principal I,lace of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                        District, or th: interests of the parties will be served in regard to the relief sought in this District.


                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                0         Landlord h'.s a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                                 (Name of landlord that obtained judgment)
                                         .                                                                                          •
                                                                                                 (Addr~s~ of landlord)

             0            Debtor clains that under applicable nonbankrui>tcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monel,uy default that gave rise to the judgment for possession, after the judgment for possession was entered. and

             0            Debtor has iJ, eluded with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petitio!}.

             0            Debtor certifes that he/she has served the Landlord with this certification. (11 U .S.C. § 362(1».
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                                                                                                                                                                Page 3

                                                                                             t~e
                                                                                              e es°We~r~r
                                                                                                    a 0 Inette S mt'th
                             ~d andIl.'ed in   every case.l
                                                                                    Signatures
                     Signat! Ire(s) of Debtor(s) (IndividuaIlJoint)                                               Signature of a Foreign Representative

I declare under penalty of r":rjury that the infonnation provided in this petition is true r declare under penalty of peljury that the infonnation provided in this petition is
and correct.                                                                               true and correct, that I am the foreign representative of a debtor in a foreign
[If petitioner is an individ 11ll! whose debts are primarily consumer debts and has 
 proceeding, and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapler 7, 11, 12 

                                                                                           (Check only one box.)
or 13 of title 11, United Sulies Code, understand the relief available under each such 

chapter, and choose to proc,.ed under chapter 7. 

[If no attorney represents m, and no bankruptcy petition preparer signs the petition1 I
                                                                                           0 I request relief in accordance with chapter 15 of title II, United States Code.
                                                                                                Certified copies of the documents required by 11 U.S.c. § 1515 are attached. 

have obtained and read the r otice required by 11 U.S.c. § 342(b). 

                                                                                           0 Pursuant to II U.S.C. § 1511. I request relief in accordance with the 

I request relief in accordance with the chapter of title 11, United States Code, 
             chapter oftitle II specified in this petition. A certified copy of the 

specified in this petition. 
                                                                   order granting recognition of the foreign main proceeding is attached.

X                    ,"-' t ~          •
                                                                                             X
                                                                                                 (Signature of Foreign Representative)

x
      S~~~'2?J!~~~ebtn                                                                           (Printed Name of Foreign Representative)

      ~e(frf~?2~~Bber (if r, Jt represented by attorney)                                         ---                                                                   ._­
                                                                                                 Date 

      Date 

                                Signature of Attorney* 
                                                Signatnre or Non-Attorney Bankruptcy Petition Preparer

X                                                                                           I declare under penalty of petjury that: (I) I am a bankruptcy petition preparer as
      Signature of Attorney fOI' Debtor(s)                                                  defined in II U.S.c. § 110; (2) I prepared this document for compensation and have
                                                                                            provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorn e{ for Debtor(s)                                               required under II U.S.c. §§ 1l0(b), 110(h), and 342(b); and, (3) if rules or
                                                                                            guidelines have been promulgated pursuant to II U.S.c. § llO(h) setting a
      Finn Name                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have given
                                                                                            the debtor notice of the maximum amount before preparing any document for filing
                                                                                            for a debtor or accepting any fee from the debtor, as required in that section.
                                                                                            Official Form 19 is attached.

                                                                                                  Tori Stallion, Bankruptcy Petition Preparer
      Telephone Number                                                                           Prin~and titl~"d:2'~~tCyp~tiyon Preparer
                                                                                                 \.'-. / '.A' (       / /~ -,' 

      Date 
                                                                                     Social-Sccurity number (If the bankruptcy petition preparer is not an
                                                                                                 individual, state the Social-Security number of the officer. principal,
*In a case in which § 707(b)(4)1:D) applies, this signature also constitutes a                   responsible person or partner of the bankruptcy petition preparer.) (Required
certification that the attorney hilS no knowledge after an inquiry that the information          by II U.S.C. § \10.)
in the schedules is incorrect.
                                                                                                 ..1Q.1 0 Peyton Place
                  Signature of IJebtor (Corporation/Partnership)                                  Cedar Park, TX 78613
                                                                                                 _.                                                            ~--~---~~--   ~-~~-


I declare under penalty of peIjuy that the information provided in this petition is true         Address
and correct, and that I hav e b.:en authorized to file this petition on behalf of the       X
debtor.
                                                                                                  10/11/2010                                                      .-~-~~-~-


The debtor requests the relie f in accordance with the chapter of title II, United States        Date
Code, specified in this petition.
                                                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person,
x                                                                                           or partner whose Social-Security number is provided above.
     Signature of Authorized Inrividual

     Printed Name            .. ~~, Individual                                              Names and Social-Security numbers of all other individuals who prepared or
                                                                                            assisted in preparing this document unless the bankruptcy petition preparer is not an
     Title of Authorized     ividlal                                                        individual.

     Date                                                                                   If more than one person prepared this document, attach additional sheets
                    •                                                                       conforming to the.appropriate official fonn for each person .

                                                                                            A bankrupt,y petition preparer 's failure to comply with the provisions of title II
                                                                                            and the Federal Rules ofBankruptcy Procedure may result in fines or imprisonment
                                                                                            or both. IJ U.S. C Q 110; 18 U.s. C § 156.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                       Case No.: _ _ _ _ _ __ 

                                                                       Chapter: _---'1:..:::3'---_ _ __ 

IN RE: ! etesha Robinette Smith

                         Debtor(s)                                     CHAPTER 13 PLAN



1. 	 The f'lture earnings of the debtor(s) are submitted to the supervision and control of the
     trustet, and the debtor(s) shall pay to the trustee for a total of 36 months, the sum of
     $13,OIiIO.OO. With monthly payments as follows:

    $361. U commencing December 1, 2010 through December 1, 2013 for a period of 36
    month;.

    TRUSTEE FEE: The trustee shall deduct 25% of the scheduled chapter 13 plan, which
    shall b,~ $90.27 per month for 36 months. The total Trustee fee over a 36 month period shall
    be $3,:'50.00.

2. 	 From tile payments so received, the trustee shall make disbursements as follows:
     (a) Holders of allowed secured claims shall retain the liens securing such claims and shall be
         paid as follows:
All post-petition payments, including but not limited to, mortgage payments, vehicle
payments, real estate taxes and income taxes, to be made outside the plan by the debtor(s).

CitiMortgage, PO Box 183040, Columbus OH 43218 (mortgage holder) to be paid pre-petition
arrears in tLe sum of$l3,OOO.OO over the life of the plan.

3. 	 All lease agreements are hereby assumed, unless specifically rejected as follows: =...N"'-A=--_ _



Title to the debtor(s) property shall revest in the debtor(s) upon completion of the plan or
dismissal of the case, unless otherwise provided in the Order confirming this plan. Throughout
the term of this plan, debtor(s) will not incur post-petition debt over $1,500.00 without
written con ,ent of the Chapter 13 trustee of the Court.



~
 j.(,z;:;t"~      tf'.   .M
                         	                            Joint Debtor

Dated:---1..QLL~1Ic.:2~0~10"-_ _ _ _ _ _ __

                                                      Attorney for Debtor
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                          UNITED STATES BANKRUPTCY COURT
                                       Eastern District of New York



In re       Lt:tesha Robinette Smith                          Case No. _ _ _ _ _ _ __
        ---
                     Debtor

                                                              Chapter    13


             ORDER APPROVING PAYMENT OF FILING FEE IN INSTALLMENTS

o	       IT IS ORDERED that the debtor(s) may pay the filing fee in installments on the terms proposed
         in the ,uregoing application.

o	       IT IS (>RDERED that the debtor(s) shall pay the filing fee according to the following terms:

$_-------­                             Check one      o With the filing of the petition, or
                                                      o On or before - - - - - ­

$ _ _ _ _ _ _ _ _ on or before

$	                - - - - on or before ------.
$                             on or before

181      IT IS FURTHER ORDERED that until the filing fee is paid in full the debtor(s) shall not make
         any additional payment or transfer any additional property to an attorney or any other person for
         service~ in connection with this case.




                                                             BY THE COURT



Dated:
                                                             United States Bankruptcy Judge


             •
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B ID (OfliciEI Fonn J, Exhibit D)(12l09)



                        UNITED STATES BANKRUPTCY COURT
                                           Eastern District of New York



          In re Letesha Robinette Smith                                         Case 

                               Debtor                                                      (if known) 





     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH 

                     CREDIT COUNSELING REQUIREMENT 


        Warning: You must be able to check truthfulJy one ofthe five statements regarding
credit cOl1nseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required 1~.0 pay a second filing fee and you may have to take extra steps to stop creditors'
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete andfile a separate Exhibit D. Check one ofthe five statements below and attach
any docum~nts as directed.

       ~ ]. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrat or that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services pn Ivided to me. Attach a copy ofthe certificate and a copy ofany debt repayment plan
developed tf-zrough the agency.

        o 2.. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy ofa certificate from the agency describing the
services provided to you and a copy ofany debt repayment plan developed through the agency
no later thail 14 days after your bankruptcy case is filed.
                                                                                                          .
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                                                                                                      Page 2
      B lD (Ofl:cial Form I, Exh. D)(12/09) - Cont.


            [il 3. I certify that I requested credit counseling services from an approved agency but
    was unable to obtain the services during the seven days from the time I made my request, and the
    followin,: exigent circumstances merit a temporary waiver of the credit counseling requirement
    so I can file my bankruptcy case now. [Summarize exigent circumstances here.}




             If your certification is satisfactory to the court, you must still obtain the credit
    counseliIlig briefing within the first 30 days after you file your bankruptcy petition and
    promptly file a certificate from the agency that provided the counseling, together with a
    copy of a:lly debt management plan developed through the agency. Failure to fulfill these
    requirem ents may result in dismissal of your case. Any extension of the 30-day deadline
    can be gr;mted only for cause and is limited to a maximum of 15 days. Your case may also
    be dismis~ed if the court is not satisfied with your reasons for filing your bankruptcy case
    without fiirst receiving a credit counseling briefing.

             LJ 4. I am not required to receive a credit counseling briefing because of: [Check the
    applicabk statement.] [Must be accompanied by a motion/or determination by the court.]

                     LJ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
            illIiess or mental deficiency so as to be incapable of realizing and making rational
            decisions with respect to financial responsibilities.);
                     LJ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
            exti~nt of being unable, after reasonable effort, to participate in a credit counseling
            briefing in person, by telephone, or through the Internet.);
                     LJ Active military duty in a military combat zone.

           05. The United States trustee or bankruptcy administrator has determined that the credit
    counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.


           I   c~'rtify   under penalty of perjury that the information provided above is true and
    correct.



•                                           Signature of Debtor:   ~'"         If   L.,.t
                                            Date: 1011112010
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                                      UNITED STATES BANKRUPTCY COURT 

                                       EASTERN DISTRICT OF NEW YORK 


                                        STATEMENT PURSUAl'lT TO LOCAL 

                                          BANKRUPTCY RULE l073-2(b) 



DEBTOR(S):-.-!.etesha Robinette Smith                                                    CASE NO.: _ _ _ _ _ __

        Pursuant t':l Local Bankruptcy Rule 1 073-2(b), the debtor (or any other pe litioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

(NOTE: Cases shall be deemed" Related Cases" for purposes ofE.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier ca se
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii)
are spouses or ex-slouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnersh:ip and one or more of its general partners; (vi) are partnerships which share one or more common general 

partners; or (vii) h~. ve, or within 180 days of the commencement of either of the Related Cases had, an interest in property that 

was oris included hi thepropertyofanothertstateunderll U.S.C.§ 541(a).] 


[2JNO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

DTHE FOLLOWIr-JG RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE      "_._._ _ _ _ _ _ _ JUDGE:_ _ _ _ _ _ _ _ _ DISTRICT/DIVISION:_ __

CASE STILL PENDlNG (Y/N): __ _              IIf closed] Date of closing: ~ . _ _ _ _ _ __

CURRENT STATU1 OF RELATED
                                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHI( H CASES ARE RELA TED (Refer to NOTE

REAL PROPERTY LISTED IN DEBTOR'S SCHF.DTTT,F. "A" ("RF.AL PROPF.RTY") WHICH WAS ALSO                                   USTF.D TN
SCHEDULE "A"OFRELATED




2. CASE NO.:                            JUDGE:                             DISTRICT/DIVISION:_______________ 


CASE STILL    PENDr~G     (Y/N): _ __       [If closed] Date of closing:_._______ 


CURRENT STATUS OF RELATED 

                                                  (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHIClii CASES ARE RELATED (Refer to NOTE ab

REAL PROPERTY LISTED IN DEB;rOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS,;\LSO LISTED
IN SCHEDULE "A" OF RELATED




                                                             (OVER)
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 DISCLOSURE OF RELATED CASES (cont'd)



 3. CASE NO.:____ ._ _ _ _ _ _ _ JUDGE: _______._.___ DISTRICT/DIVISION: _ _ _ _ _ _ _ _ __ 


 CASE STILL    PEN~~ING    (Y/N): __ _       (If closed) Date of dosing: __________ 


 CURRENT STA TIrs OF RELATED 

                                                  (Discbarged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHl CH CASES ARE RELATED (Refer to NOTE

 REAL PROPERn LISTED IN DEBTOR'S SCHEDULE "A" (''REAL PROPERTY") WHICH WAS ALSO LISTED
 IN SCHEDULE "A' OF RELATED




 NOTE: Pursuant tol 1 U.S.C. § 109(g), certain individuals wbo bave had prior cases dismissed witbin tbe preceding 180 days may
 not be eligible to be 'Ilebtors. Such an individual will be required to fDe a statement in support of his/ber eligibility to file.


 TO BE COMPLEHD BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

 I am admitted to pra ctice in the Eastern District of New York (Y/N):_ _


CERTIFICATION (:LO be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penali y of perjury that tbe within bankruptcy case is not related to any case now pending or pending at any time,
except a s indicated ebewhe re on this fo rm.




Signature of Debtor's Attorney
                                                                      £;r-;,L £.
                                                                    ~f Pro Se Debtor/Petitioner
                                                                                                  U
                                                                      13 Oakland Drive North
                                                                              ----_._----_._._-----­
                                                                      Mailing Address of Debtor/Petitioner

                                                                      Riverhead, NY 11901
                                                                      City, State, Zip Code

                                                                          1) 208-9095
                                                                      Area Code and Telephone Number


Failure to fully and tnlthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of
a trustee or the dismiss III of the case with frejudice.
                                                                                                                   •
NOTE: Any change in addre ss must be reported to the Court immediately IN WRITING. Dismissal ofyour petition may otherw ise
result.




USBC·17                                                                                            R.. 811112009
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B 20lB (Fonn 201B) (121!)9)


                                  UNITED STATES BANKRUPTCY COURT
                                                     Eastern District of New York

In re Letesha RoL~lin.!!:e::!.tt~e:..!S~m~ith:.!.-________                          Case No. -------­
                               Debtor
                                                                                    Chapter -.-:..13=--_______



                              CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S) 

                                  UNDER § 342(b) OF THE BANKRUPTCY CODE 



                                   Certification of [Non-Attorney) Bankruptcy Petition Preparer
         I, the [non-at'~()meyJ bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 Tori Stallion, Banknptcy Petition Pr~arer
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address: 1010 Peyton Plac                                                           preparer is not an individual, state the Social Security
            Cedar Park, TX 78613                                                    number of the officer, principal, responsible person, or
  -,ii', '     fJ 1-                    1                                           partner of the bankruptcy petition preparer.) (Required
xVJ-V      ~V(J.Zj!'-Ji·{,~
                                            '

                                                                                    by 11 U.S.c. § 110.)

Signature of Bankruptcl Petition Preparer or officer,
principal, responsible p'~rson, or partner whose Social
Security number is pro,-,ided above.



                                                          Certification of the Debtor
          I (We), the deb tor(s) , affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.

 Letesha Robinette Smith
Printed Name(s) of Deb;,::>r(s)
                                                                                    1
                                                                                    e of Debtor
                                                                                                  A'.    >~                10/11/2010
                                                                                                                           Date

Case No, (if known) ___~_
                                                                           Signature of Joint Debtor (if any)              Date




Instructions: Attach a copy ofFonn B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this fonn to certify that the debtor has received the notice required by 11 U.S.c. § 342(b) only if the certification has
NOT been made on th( Voluntary Petition, Official Fonn B I. Exhibit B on page 2 of Fonn B 1 contains a certification by the
debtor's attorney that theooattorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Fonn B 1 also include this certification.
               Case 8-10-78270-reg        Doc 1    Filed 10/21/10      Entered 10/21/10 10:37:51


B 20lA (Form   201AI,:b(1~2~!O:;:;9:f::)=============:::==:::=====:::===:==:==:===:==:=:===:::===:====:===;==
   WARNING: Ef:'ective December 1,2009, the IS-day deadline to file schedules and certain other documents under 

      Bankrupt(y Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2 


                             UNITED STATES BANKRUPTCY COURT

                       NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b) 

                                OF THE BANKRUPTCY CODE 

        In accordallce with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer 

debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the 

purposes, benefits lnd costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you 

about bankruptcy ,rimes and notifies you that the Attorney General may examine all information you supply in 

connection with a bankruptcy case. 


        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek 

the advice of an atl Drney to learn of your rights and responsibilities should you decide to file a petition. Court 

employees cannot ;i~ve you legal advice. 


         Notices fw,n the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In 

order to ensure tha:. you receive information about events concerning your case, Bankruptcy Rule 4002 requires that 

you notifY the cour': of any changes in your address. If you are filing a joint case (a single bankruptcy case for two 

individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you 

and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly­

addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of 

all notices. 


 1. Services Avaibble from Credit Counselin2 A2encies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual dehtors who fIle
for bankruptcy relief on or after October 17,2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days bet!:Jre the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete ,he briefing.

        In addition, after fIling a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial managemeat instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapt·l~rs ofthe Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: il:'-iquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whos,~ debts are primarily consumer debts are subject to a "means test" designed to determine
whether the case sho'lld be permitted to proceed under chapter 7. If your income is greater than the median income       •
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors hwe the right to file a motion requesting that the court dismiss your case under § 707(b) ofthe
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapte' 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
        The purpose (,f filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
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          Fonn B :.OIA, Notice to Consumer Debtor(s)                                                        Page 2

found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
your discharge ane, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if YOll receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be re.)ponsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts whic:.l are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may detennine that the debt is not discharged.

        Chapter 11: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $39 administrative fee: Total fee $274)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in insta'lments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amOllllts set forth in the Bankruptcy Code.
        Under charlter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, dependi ng upon your income and other factors. The court must approve your plan before it can take
effect.
        After comp leting the payments under your plan, your debts are generally discharged except for domestic
support obligatiom; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not prop~r1y listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long teJ~m secured obligations.

        Chapter 1:11.: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 flling fee, $39 administrative fee: Total fee $239)
        Chapter 12 is designed to permit family fanners and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arists primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of peIjury, either orally or in writing, in cOlmection with a bankruptcy case is subject to a fine, imprisonment, or
both. All informatbn supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General aeting through the Office of the United States Trustee, the Office ofthe United States Attorney,
and other components and employees of the Department of Justice.

W ARNIN G: SectiOI 521 (a)( 1) of the Bankruptcy Code requires that you promptly file detailed infonnation regarding your
                     I


creditors, assets, liab lities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this infonnation is nCltJiled with the court within the time deadlines set by the Bank:rqptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are 1isted on Fonn B200, which is posted at
http://www.uscourts.·;ovlbktonllslbankmptcy fonns.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to
require action withill) 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13
plan; Rule 8009(a), Hling appellate hriefs; and Rules 1019, 1020,2015,2015.1,2016,4001,4002,6004, and 6007.
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                                                Certificate Number: 00555-NYE-CC-012641206

                                              1111111111111111111111111111111111111111111111111111111111111111III
                                                                  00555-NYE-CC-012641206




                     CERTIFICATE OF COUNSELING


I CERTIFY that on October 12, 2010, at 12:25 o'clock PM EDT, Letesha Smith
received from Advisory Credit Management, Inc., an agency approved pursuant
to 11 U.S.C. § 111 to provide credit counseling in the Eastern District of New
York, an individual [or group] briefing that complied with the provisions of 11
U.S.C. I~§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   !,;'ctober 12,2010                      By;       IslShana Forrester-Andrew


                                                Name: Shana Forrester-Andrew


                                                Title:    Credit Counselor




* IndividUlls who wish to file a bankruptcy case under title 11 of the United States Bankruptcy                     •
Code are n~quired to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseLing services and a copy of the debt repayment plan, if any, developed through the
credit courseling agency. See 11 U.S.c. §§ 109(h) and 521 (b).
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                       UNITED STATES BANKRUPTCY COURT 

                        EASTE:RN DISTRICT OF NEW YORK 




 ---------.--------------------------------------x
 InRe:
          Lett: sha Robinette Smith                            Case No.
          13 6~ 'DUlle: N~
      R.:r t'~2-H C/H) I   AltAI ~ Itt/Of                      Chapter 13

                           Debtor(s)
 -------------------------------------x

      VEJUFICATION OF CREDITOR MATRIX/LIST OF CREDITORS 




              The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.



Dated: 10/1112010




                                               Joint Debtor



                                               Attorney for Debtor


                                                                          ..




USEC·44                                                                               Rev. 3/]7/05
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CitiMoltgage 

Post Office Box 183040 

Columbu.s OR 43218 


Sweeney Gallo Reich and Bolz LLP 

95-25 Queens Blvd Eleventh Floor 

Rego Park NY 11374 





                                             •

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B6A (Official Fonn 6AI (12/07)

In re Letesha Rc::>inette Smith                                                                         CaseNo. ______~~----~----------
               Debtor
                       ----------------------------                                                                    (If known)


                                            SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co­
tenant, community pnperty, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an "H,"
"W," "J," or "c" in tIle column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Loc:tion of Property."

  Do not include inl:erests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims 10 have a lien or hold a secured interest in any property, state the amount ofthe secured claim. See Schedule D. Ifno entity claims
to hold a secured interl:st in the property, write "None" in the column labeled "Amount of Secured Claim."

    If the debtor is an .I ndividual or if a joint petition is filed, state the amount ofany exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




                                                                                     !if
             DESCRIP' I'ION AND                                                      ~iS            CURRENT VALUE                    AMOUNT OF
               LOCAl [ON OF                          NATURE OF DEBTOR'S              ..... 2:        OF DEBTOR'S                      SECURED
                PROP E:RTY                          INTEREST IN PROPERTY             §!I              INTEREST IN                      CLAIM
                                                                                     08           PROPERTY, WITHOUT
                                                                                     ;jg            DEDUCTING ANY
                                                                                     ~              SECURED CLAIM
                                                                                     ::c            OR EXEMPTION

 HOME: 130aklc nd Drive North                     Homestead
                                                                                           I                300,000.00                     145,000.00
 Riverhead, NY 11,901

                                                                                     .




                                    ..                                                                              ..,

                                                                                Total>­                    300,000.00
                                                                                (Report also on Summary of Schedules.)
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B 6B (Official Form 6E) (12/07)

In re Letesha Rc binette Smith                                                                           Case No. ____________________
               Debtor
                         ---------------------------.                                                                   (If known)



                                           SCHEDULE B - PERSONAL PROPERTY
           Except as dil rected below, list all personal property of the debtor ofwhatever kind. Ifthe debtor has no property in one or more ofthe categories,
place an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly
identified with the cas: name, case number, and the number of the category. If the debtoris married, state whether the husband, wife, both, or the marital
community own the ~:roperty by placing an "H," "W," "J," or "c" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an
individual or a joint p::tition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list illterests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is beini: held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is beinl' held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.c. §112 and Fed. R. Bankr. P. lO07{m).


                                                                                                                             CURRENT VALUE OF
                                                                                                                             DEBTOR'S Il'iTEREST
                                               N                                                                             IN PROPERTY, WITH­
          TYPE OF PRJPERTY                     o                 DESCRIPTION AND LOCATION                                    OUT DEDUCTING ANY
                                               N                       OF PROPERTY                                             SECURED CLAIM
                                               E                                                                                OR EXEMPTION

 L Cash on hand.                               x
 2. Checking, savings or other finan­
 cial accounts, certificate': of deposit
 or shares in banks, savin ,~s and loan,
 thrift, building and loan, and home­
 stead associations. or cre jit unions,
 brokerage houses, or cO{' peratives.

 3. Security deposits wit! public util­
 ities, telephone compani.. s, land­           X
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, al d computer
 equipment.

5. Books; pictures and ot:ler art 

objects; antiques; stamp, (oin, 

                                               X
record, tape, compact dis( , and other
collections or collectibles

6. Wearing apparel,                                   All wearing apparel                                                                      :;,000.00
7. Furs and jewelry.                           X

8. Firearms and sports, ph lto­
graphic, and other hobby e ~uipment.           X


9. Interests in insurance p,licies. 

Name insurance company iIf each 

policy and itemize surrend :r or               X

refund value of each. 


10. Annuities. Itemize and name 

each issuer. 
                                 x
11. Interests in an educatior: IRA as
defined in 26 U.S.c. § 530( J){l) or under
a qualified State tuition pIal as defined in
26 U.S.c. § 529(bXl). Give particulars.        X
(File separately the record(!1 of any such
interest(s). 11 U.S.C. § 521i·c).)
                              ------~--~--------------                                 _ _ _ _ _ _ _ _ _ _~_L_ _ _ _ _ _ _ _ _ _ _ _ _ _~
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B 6B (Official Fonn 6[1) (12/07) -- Cont.



                                                                                          Case No. _ _ _ _ _ _ _ _ _ __
In re Letesha Rc binette Smith
                 ~~~~~---------------'                                                                    (Uknown)
               Debtor


                                            SCHEDULE B - PERSONAL PROPERTY
                                                             (Continuation Sheet)

                                                                                                       CURRENT VALUE OF
                                                                                                       DEBTOR'S INTEREST
                                                 N                                                     IN PROPERTY, WITH­
           TYPE OF PI.OPERTY                     o           DESCRIPTION AND LOCATION                  OUT DEDUCTING ANY
                                                 N                 OF PROPERTY                           SECURED CLAIM
                                                 E                                                        OR EXEMPTION



  12. Interests in IRA. E ~ISA, Keogh, or
  other pension or profit :;haring plans.        X
  Give particulars.

  13. Stock and interests n incorporated
  and unincorporated bus inesses.
  Itemize.

  14. Interests in partnersilips or joint
  ventures. Itemize.

  15. Government and co:porate bonds
  and other negotiable anI non­
  negotiable instruments.

  16. Accounts receivabk

  17. Alimony, maintenar,;e, support,
  and property settlement; to which the
  debtor is or may be entii ed. Give
  particulars.

  18. Other liquidated deb:s owed to
  debtor including tax reftl ~ds. Give           X
  particulars.

 19. Equitable or future ir terests, life
 estates, and rights or po",ers exercisable
 for the benefit of the deb lor other than
 those listed in Schedule ,', - Real
 Property.

 20. Contingent and nonc1ntingent
 interests in estate of a deiedent, death
 benefit plan, life insuram! policy, or trust.   X

 .21. Other contingent and Imliquidated
  claims of every nature, induding tax
  refunds, counterclaims of the debtor, and
  rights to setoff claims. G, ve estimated       X
  value of each.




                                                                        •

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B 6B (Official Fonn 61 ' ) (12/07) -- Cont.


In re Letesha Robinette Smith                                                                         Case No. ________________~_
                ~~--~~------------------                                                                             (Uknown)
               Debtor

                                              SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)


                                                                                                                      CURRENT VALUE OF
                                                                                                                      DEBTOR'S rNTEREST
                                                 N                                                                    IN PROPERTY, WITH­
           TYPE OF PJtOPERTY                     o              DESCRIPTION AND LOCATION                              OUT DEDUCTING ANY
                                                 N                    OF PROPERTY                                       SECURED CLAI!\-f
                                                 E                                                                       OR EXEMPTION



  22. Patents, copyright; and other
  intellectual property. Give particulars.       X

 '23. Licenses, franchise;, and other general
  intangibles. Give partil:uiars.

  24. Customer lists or oi.her compilations
  containing personally identifiable
  infonnation (as define(i in 11 U.S,C,
   § 101(4IA»provided o the debtor by
  individuals in connecti,n with obtaining a     X
  product or service frolT! the debtor
  primarily for personal, amity, or
  household pUIpOses,

   25. Automobiles, truck,;, trailers,
  and other vehicles and lccessories.

  26. Boats, motors, and II ~cessories,

  27. Aircraft and accessc:ies,

  28. Office equipment, fl'mishings,
  and supplies.
                                                 X

  29. Machinery, fixtures, ,:quipment,
  and supplies used in bus, ness.


  30. Inventory.                                 X

  3 I ' AnimalS.                                      Pitbull                                                                       250.00


  32. Crops - growing or h,.rvested.
  Give particulars,                              X

  33, Fanning equipment mid implements.
                                                 X

  34, Farm supplies, chemic. lis, and feed.      X
  35. Other personal proper; f ofany kind             Lawnmower
  not already listed. ItemizE'                                                                                                      100.00


                                                                ~~ __2_continuation sheets attached      Total>   $               18,550.00
                                                                      (Include amounts from any continuation
                                                                      sheets altached. Report tolal also on
                                                                                  Summary of Schedules.)
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B 6C (Official Fonn 6C (04/10)

                                                                                                                   Case No. _ _ _ _ _ _ _ _ __
(n re Letesha RoL:.::lin...:.:e:..;tt::..:e:...::::S:.:.m:.:-it::...h:....-____
                             Debtor


                                                  SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

  Debtor claims the eJemptions to which debtor is entitled under: 
                        o   Check if debtor claims a homestead exemption that exceeds
  (Check one box)                                                                              $146,450'*

  I'L 11 U.S.C. § 522lb)(2)
  o 11 U.S.c. § 522b)(3)



                                                                                                                                         CURRENT
                                                                        SPECIFY LAW                     VALUED}'                    VALUE OF PROPERTY
    DESCRIPTION OF .PROPERTY                                          PROVIDING EACH                    CLAIMED                     WITHOUT DEDUCTING
                                                                         EXEMPTION                     EXEMPTION                        EXEMPTION



   13 Oakland Dr North                                       11 U.S.C 522(b)(2)                                          0.00                    300,000.00
   Riverhead, NY 11901




   All wearing apparel


 ·20031:.i~~Qln? Navi~tor .
                     ; ~ -   ~ -".   - , - -'   -- y




   Dog (pitbull)                                             11 U.S.C. § 522(d)(3)                                     250.00                          250.00


   Lawnmowel" .                                                                                                                                        H)Q.OO




                                           •                                                                       •


* Amount subject to adj, 'stment on 411113, and every three years thereafter with respect to cases commenced on or after the date ofadjustment.
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  B 6D (Official Form 61.) I (12/07)

                         11:1 re Letesha Robinette Smith                                                              Case No. _______________________________
                                             Debtor                                                                                        (If known)

                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
            State the na,ne, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtOl as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the;reditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, gami~hments, statutory liens, mortgages, deeds of trust, and other security interests.
            List credito; s in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "AB., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.c. §112
 and Fed. R. Bankr. P. I007(m). If all secured credite-rs will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
 entity on the appropri;" te schedule of creditors, and complete Schedule H Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the m ~rital community may be liable on each claim by placing an "H," "W," "J," or "c" in the column labeled "Husband, Wife,
 Joint, or Community.'
            If the claims contingent, place an "X" in the column labeled "Contingent." Ifthe claim is unliquidated, place an "X" in the column
 labeled "Unliquidated," If the claim is disputed, place an "X" in the column labeled "Disputed."                              rr
                                                                                                             ou may need to place an "X" in more than one of
 these three columns.)
            Total the co; lmns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes
 labeled "Total(s)" on t:le last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value
 of Collateral" also on 1. ile Summary of Schedules and" if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled "Unsecured PCI rtion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.


             D          Ch !ck this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                      i
   CREDITOR'S NAI1E AND                           ..r
                                                  :;...       ;;...        DATE CLAIM WAS           ...Z ...Iolil
                                                                                                              ~                 AMOUNT OF CLAIM                 UNSECURED
      MAILING ADDRESS                     Q:;:
                                                  ~Q:;:'"                     INCURRED,                                 ~           WITHOUT                     PORTlON,IF
                                          ...0                                                             ...
                                                                                                         -
                                                     0­                                             I';l
  INCLUDING ZIP CODE AND                                                                                 <              I';l
                                                  1Sr-:~
                                                                                                    ...-
                                                                           NATURE OF LIEN,          C-'      ~                  DEDUCTING VALUE                    ANY
    AN ACCOUNT NUMBER                     =                                      AND                z                   ::l      OF COLLATERAL
                                                  ZziE
                                                                                                         -
                                          Iolil                                                              ::l         ~
                                          ~       <-iE                                                       0
     (See Instroctions / hove.)
                                          0       =00
                                                                             DESCRIPTION            Z        ....;j
                                                                                                                        ....
                                                                                                                        til
                                                                                                                        ~
                                          U       til"'"                    AND VALUE OF            0
                                                  ::l         U
                                                                              PROPERTY              U        Z
                                                  :I1                                                        ::l
                                                                           SUBJECT TO LIEN
 ACCOUNT NOS91 0221
                                                                           2/2007
 Santander Consun:er                                                       Auto loan
 PO Box 961245                                            I                2003 Lincoln                                                     15,000.00
 Fort Worth, TX 761 51                                                     Navigator
                                                                                                                                                                                      !
                                                                          VALUE $ 15000.00
 ACCOUNT NO-5533
                                                                          412006
 Citifinancial                                                            Home Loan
 PO Box 183040                                            I                                                                                145,000.00
 Columbus, OH 43218

                                                                          VALUE$145 000.00
: ACCOUNT NO.5533
                                                                          6/2010
 Citifinancial                                                            Mortgage
 PO Box 183040                                            I               Arrearage                                                         13,000.00                13,000.00
 Columbus, OH 432'18
                                                                           VALUE $ 145,nno 00
~O_continuation     sheets                                                Subtotal ....                                         $                           $
      attached                                                            (Total ofthi:page)                                              173,000.00                 13,060.00 ,
                                                                          Total ....                                            $                           $
                                                                          (Use only on last page)                                           173,000.00               13,000'0_0]
                                                                                                                               (Report also on Summary of   (If apphcable, report
                                                                                                                               Schedules.)                  also on Statistical
                                                                                                                                                            Summary of Certain
                                                                                                                                                            Liabilities and Related
                                                                                                                                                            Data.)
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 B 6E (Official Fonn 6E;, (041l 0)


            In re Let':lsha Robinette Smith                                                             Case No.,__________
                              Debtor                                                                                         (ifknown)


          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
 unsecured claims enti!. led to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
 including zip code, ani last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
 debtor, as of the date d the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete acc(unt number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
 debtor chooses to do s). If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U .S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other :han a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropria:e schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the mtrital community may be liable on each claim by placing an "H," "W," "J," or "c" in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "XI! in the
column labeled "Unliqllidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of daims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of 'Lmounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listd on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
primarily consumer delts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of .,mounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to )riority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule, Individual debtors
with primarily consum,' r debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

III   Check this box if d ~btor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORIT Y CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

o     Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

o Extensions of credil in an involuntary case
  Claims arising in the o'dinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment ofa trustee Jr the order for relief. II U.S.c. § 507(a)(3).

o \Vages, salaries, and commissions
  Wages, salaries, and ccmmissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifYing
independent sales represmtatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.s.C. § 507(a)(4).
o Contributions to employee benefit pIaI»'
  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whchever occurred first, to the extent provided in II U.S.c. § 507(a)(5).


 * Amount subject to adj lstment on 4101113. and every three years thereafter with respect to cases commenced on or after the date ofadjustment.
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B 6E (Official Form 6F 1(0411 O) - Con!.



  In re Letesha nobinette Smith                                                   Case No._ _ _ _~------­
                        ~~~~~------------­
                               Debtor                                                           (ifknown)




o   Certain farmers and fishermen

  Claims of certain fa tmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in II U.S.c. § 507(a)(6).


o Deposits by indhiduals
  Claims of individua,s up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. II U.S.c. § 507(a)(7).


o Taxes and Certai n Other Debts Owed to Governmental Units
  Taxes, customs dutil,s, and penalties owing to federal, state, and local governmental units as set forth in II U.S.C. § 507(a)(8).


o Commitments to\faintain the Capital of an Insured Depository Institution
  Claims based on conmitments to the FDIC, RTC, Director oftbe Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


o Claims for Death I}r Personal Injury While Debtor Was Intoxicated
 Claims for death or p,!rsonal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
dmg, or another substalce. 11 U.S.c. § 507(a)(10).




* Amounts are subject n     adjustment on 4101113, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                    •       o    continuation sheets attached                                     •
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B 6F (Official Form 6F) (1207)

In re     Letesha Robinette Smith                                                                             Case 1'\0. -------;;T;:-:-:=~----­
                               ~--D~ebrt~o-r--------------~                                                                       (ifkDown)


          SCHEDUIJE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailit:saddress, including zip code, and last four digits ofany account number, ofall entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing ofthe petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and tle creditor and may be provided ifthe debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's pare.1t or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.c. § I 12 and Fed.
R. Bankr. P. l007(m). Dr. not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

    If any entity other thall a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of cmditors, and complete Schedule H - Codebtors. Ifa joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the colunm labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated."
If the claim is disputed, pllce an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    'it   Check this box if (Iebtor has no creditors holding unsecured claims to report on this Schedule F.


      CREDITOR'S N.\.J.\.1E,                        ~
                                                    ......  >­   f-o         DATE CLAIM WAS                                                    AMOUNT OF
                                                    ~ ~          ...~
      MAILING ADDimSS                                   ·°.2':                INCURRED AND                                                       CLAIM

                                                    ~~~
     INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
    AND ACCOUNT 1\ UMBER                                                          CLAIM.
           (See instructions aO'lve.)               trlQc5                IF CLAIM IS SUBJECT TO
                                                    :g           U
                                                    ::r:                     SETOFF, SO STATE.


 ACCOUNT NO.




 ACCOUNT NO.




 ACCOl%T NO.




 ACCOlJNT NO.




                                                                                                                             Subtotal>­    $
 ~continuation sheets attaned                                                                                                  Total>­     $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
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B 6G (Offick,1 Fonn 6G) (l2i07)

In re Lel'3sha Robinette Smith                                                         Case
                Debtor                                                                                   (if known)


       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Des:ribe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
     interest;. State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or
     lessee 0' a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
     a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
     or guar( ian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.c. § 112 and
     Fed. K Banler. P. lO07(m).


III Check tJ,is box if debtor has no executory contracts or unexpired leases.

            NAME AND MAILING ADDRESS,                                     DESCRIPTION OF CONTRACT OR LEASE AND
                 INCLUDING ZIP CODE,                                       NATURE OF DEBTOR'S INTEREST. STATE
     OF OTJ fER PARTIES TO LEASE OR CONTRACT.                             WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                             REALPROPERT~ STATE CONTRACT
                                                                          NUMBER OF ANY GOVERNMENT CONTRACT•




 •                                                                                to
                    Case 8-10-78270-reg                             Doc 1          Filed 10/21/10   Entered 10/21/10 10:37:51

B 6H (Official Fonn 61!) (12/07)

In re Letesha Rc:c:)b:.:.:in..:..:e::.:tt.!.:;e:;...S=.;.m""it""h'--_ _ _ __                             Case No. _ _ _ _ _ _ _ _ _ _ _ __
                         Debtor                                                                                           (if known)


                                                                    SCHEDULE H - CODEBTORS
    Provide the infonnation requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedult s of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or tel citory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
former spouse who rei-ides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse dunllg the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. § J 12 and Fed. R. Bankr. P. 1007(rn).

1iI   Check this box if debtor has no codebtors.


                   NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR




                                                                               •                                                              •
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861 (Official Form 61) (12/07)
     In re Letesha I~obinette Smith                                                           Case No. ________________
                   ~~~~~~------------
                    Debtor                                                                                    (if known)


                   SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
    The column labele<.: "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not ajoint petition is
    filed, unless the sp(lUses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
    calculated on this fi.rm may differ from the current monthly income calculated on Form 22A, 22B, or 22C.


      Debtor's Marital                                            DEPENDENTS OF DEBTOR AND SPOUSE
      Status:
      Single                    RELATIONSHIP(S): 2 Sons                                                                     AGE(S): 6/9

      Employment:                              DEBTOR                                                              SPOUSE
      Occupation Ser:·ior Administrative Secretary

                          r Brookhaven National Laboratory
                         ild
                                15 years
                          fer
                         aldg.197C
                         73

    INCOME: (Estimate of average or projected monthJy income at time           DEBTOR                      SPOUSE
                 case filed)
                                                                               $        4 1070.84          $
    1. Monthly gross W!iges, salary, and commissions
        (prorate if not paid monthly)                                          $              0.00         $
    2. Estimate monthly overtime

    3. SUBTOTAL
                                                                               I$~        4,070.84             $
    4. LESS PAYROLL DEDUCTIONS
                         ,w
       a. Payroll taxes d social security                                      $          227.28           $
       b. Insurance                                                            $          196.75           $
       c. Union dues                                                           $            0.00           $
       d. Other (SpecifY) TJAAlCREFNanguarcl/Fed/State                         $          635.41           $

    S. SUBTOTAL OF PAYROLL DEDUCTIONS
                                                                                          1 1059.44

                                                                              I:
                                                                                                               $
    6. TOTAL NET MOIITHL Y TAKE HOME PAY                                                  3,011.40             $

    7. Regular income fro n operation of business or profession or farm        $             0.00
         (Attach detailed !! catement)
    8. Income from real poperty                                                $             0.00          $
    9. Interest and divider: ds                                                $             0.00
    10. Alimony, maintenlnce or support payments payable to the debtor for
           the debtor's use or that of dependents listed above
                                                                               $             0.00          $
    II. Social security or ,>.:ovemment assistance
         (SpecifY):_ _                                                        $              0.00          $
    12. Pension or retirem::.nt income
    13. Other monthly income                                                   $            0.00
           (SpecifY): Child Sueeort                                           $           40000            $

   14. SUBTOTAL OF LNES 7 THROUGH 13                                               $        400.00         $

   15. AVERAGE MON1 HLY INCOME (Add amount,: on lines 6 and 14)                    $      3,411.40         $
                                      •
   16. COMBINED AVET:AGE MONTHLY INCOME: (Combine column                 $       3,411.40 •
   totals from line IS)                                  (Report also on Summary of Schedules and, if applicable,
                                                         on Statistical Summary of Certain Liabilities and Related Data)

   17. Describe any increa':e or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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 B6J (Official Form 6J) (12/07)

                 In re Le1esha Robinette Smith                                                                     Case No. __________________________
                                Debtor                                                                                                   (if known)


                  SCHE:DULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this scheti.ule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any payments made bi­
 weekly, quarterly, semi-,nnually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
 allowed on Form22A or 22C.

            Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled "Spouse."


 I. Rent or home mortga~i! payment (include lot rented for mobile home)                                                                                        $      935.00
                                                                                                                                                                   ~---


      a. Are real estate tax,!S included?           Yes               No,f
      b. Is property insurar,ce included?           Yes - - - ­       No ~I
 2. Utilities:    a. Electrici!1 and heating fuel
                  b. Water and sewer
                  c. Telephon,!
                  d. Other
3. Home maintenance (re, >airs and upkeep)                                                                                                                 $           80.00
4. Food                                                                                                                                                    $ _ _2_0Q.~00_
5. Clothing                                                                                                                                                $          100.00
6. Laundry and dry c1eanillg
                                                                                                                                                           $       ----40.00
7. Medical and dental expmses                                                                                                                              $..           0.00
8. Transportation (not inc! lding car payments)                                                                                                            $ --'2:':-:0CC=0.OO

9. Recreation, clubs and e"tertainment, newspapers, magazines, etc. 
                                                                                      $    0.00
 I O.charitable contributior,l 

                                                                                                                                                           $---0])0
I Unsurance (not deductei i from wages or included in home mortgage payments) 

            a. Homeowner's :>rrenter's                                                                                                                     $     60.00
            b. Life 
                                                                                                                                      $~ _ _2_6._00_
            c.Health 
                                                                                                                                     $      0.00
            d. Auto                                                                                                                                        $          100~OO-
          e.                                                                                                                                               $            0.00
12. Taxes (not deducted fr(,m wages or included in home mortgage payments)
(SpecifY) Separate n'ortgage taxes .________

13. Installment payments; (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
          a.Auto
          b. Other
          c. Other
                                                                      ---~.-.--


14. Alimony, maintenance, .md support paid to others
15. Payments for support of additional dependents not living at your home
16. Regular expenses from "peration of business, profession, cr farm (attach detailed statement)
17. Other   ~.-.-.~.~~-           -~-.--~-




18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
    if applicable, on the Statl stical Summary of Certain Liabilities and Related Data.)
                                                                                                                                                      $_           .2,981.00     I
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:




20. STATEMENT OF MONTHLY NET INCOME
            • monthly inco.ne from Line 15 of Schedule I
    a. Average                                                                                                                                             $        3,411.40
    b. Average monthly exp.nses from Line 18 above
                                                                                                                                                           $~_~,98!:Q~
    c. Monthly net income (11 ~ minus b.)                                                                                                                  $         430.40
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B6 Summary (Official Fcm 6 - Summary) (12107)



                                            United States Bankruptcy Court 

                                                          Eastern District of New York

In re Letesha Robnette Smith                                                               Case No. ______________
                 ------------------­
                       Debtor
                                                                                           Chapter _13_ ______

                                                    SUMMARY OF SCHEDULES
Indicate as to each sch,'dule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes prO\ ided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7,11, or 13.

                                                   ATTACHED
 NAME OF SCHEDULI~                                  (yES/NO)     NO. OF SHEETS              ASSETS              LIABILITIES               OTHER

 A - Real Property                                                                     $
                                              YES                                          300,000.00

 B - Personal Property                                                                 $
                                              YES                                 3

 C - Property Claimed
     as Exempt
                                              YES                                 1

 D - Creditors Holding
     Secured Claims
                                              YES                                 1

 E - Creditors Holding Uri ,ecured            YES
     Priority Claims
     (Total of Claims on S;hedule E)

 F Creditors Holding Un.ecured                YES                                 1
    Nonpriority Claims


 G Executory Contracts .,nd                   YES
    Unexpired Leases


 H Codebtors                                  YES                                 1

I Current Income of                           YES                                 1                                                         3,411.40
  Individual Debtor(s)

J - Current Expenditures (I f Individual      YES                                                                                           2,981.00
    Debtors(s)

                                           TOTAL                                      $                     $
                                                                                12         318,550.00              173,000.00




                                                                                                                                           •

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B 6 Summary (Official F:mn 6 - Sutmnary) (12/07)


                                             United States Bankruptcy Court
                                                             Eastern District of New York
In re Letesha Rot!.Lin""e-".tt><.e,."S<'-'mW!i.>!..th'--_____,                            Case No. _ _ _ _ _ _ __
                                    Debtor
                                                                                          Chapter --'-"'-_ __

    STATISTICiU- SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8», filing a case under chapter 7, II or 13, you must report all information requested below.

          o Check thh box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.c. § 159.

Summarize the follo'l"ing types of liabilities, as reported in the Schedules, and total them.



  Type of Liability                                                      Amount

  Domestic Support 01 ,ligations (from Schedule E)                       $         0.00

 Taxes and Certain Ot iler Debts Owed to Governmental Units              $         0.00
 (from Schedule E)

  Claims for Death or I 'ersonal Injury While Debtor Was                 $         0.00
  Intoxicated (from SetI.edule E) (whether disputed or undisputed)

  Student Loan Obligat ions (from Schedule F)                            $         0.00

 Domestic Support, Se :'laration Agreement, and Divorce Decree           $         0.00
 Obligations Not Repc :ted on Schedule E

 Obligations to Pensio II or Profit-Sharing, and Other Similar           $         0.00
 Obligations (from Set ,edule F)

                                                                 TOTAL   $         0.00

State the   followin~:

 Average Income (frOJ 1 Schedule I, Line 16)                             $     3,411.40
 Average Expenses (frem Schedule J, Line 18)                             $     2.981.00
 Current Monthly Income (from Form 22A Line 12; OR, Form                 $     4,470.84
 22B Line II; OR, Form 22C Line 20)

State the
  I. Total from Schedl: Ie D, "UNSECURED PORTION, IF
  ANY" column

  2. Total from Schedte E, "AMOUNT ENTITLED TO
  PRIORJTY" colunm.                                                                                                                           •

  3. Total from Schedue E, "AMOUNT NOT ENTITLED TO
  PRIORITY, IF ANY' column

  4. Total from Schedule F                                                                      173,000.00
  5. Total of non-priority unsecured debt (sum of I, 3, and 4)                                  173,000.00
                  Case 8-10-78270-reg                           Doc 1           Filed 10/21/10                    Entered 10/21/10 10:37:51

B6 Declaration (Official F:>rm 6 Declaration) (lV07)

             In re                Robinette Smith                                                                  Case
                                      Debtor




                          DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                          DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under pendty of perjury that I have read the toregoing sununary and schedules, consisting of_1~ sheets, and that they are true and correct to the best of
my knowledge, infonnal ion, and belief.


                                                                                                                               ~=~
Date    10/11/2010

Date _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                 Signature:

                                                                                                                tJf
                                                                                                              _...4L¥4;;;;-",~~~~'L~.--r>'~~~=~-
                                                                                                                               Debtor

                                                                                                 Signature: _ _ _ _ _ _ _ _ _ _ _ _.,-_,--_ _ _ _ _ __


                                                                                                      [If joint case, both spouses must sign.]


                         DJ< CLARATION AND SIGNATURE OF NO:'{-ATIORNEY BANKRUPTCY PETITION PREPARER (See                                             n   U.S.C. § llO)

   I declare under penalty, f perjury that: (I) I am a bankruptcy petition preparer as defined in 11 U.S.c. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy oft tis document and the notices and information required under 11 U.S.C. §§ IIO(b), llO(h) and 342(b); and, (3) if rules or guidelines have been
promUlgated pursuant to 1 U.S.C. § llO(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing al 'y document for filing for a debtor or accepting any fee from the debtor, as required by that section.

  Tori Stallion, Bar~ruptcy Petition                   Preparer
Printed or Typed Name and Title, ifany,                                          Social Security No.
of Bankruptcy Petition Prel)arer                                                 (Required by 11 U.s.c. § /lO.)

Ifthe bankruptcy petition 1 "eparer is not on individual, siale Ihe name. lille (if any), address, and social security number ofIhe officer. principal. responsible person, or partner
who signs Ihis document.
JQ10 Peyton Pla09 ._ __
 Cedar Park, TX           7;lli.1L~_



                                                                                                              10/11120=-1'-.::.0__
                                                                                                           Date


Names and Social Security .tumbers of aU other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

Ifmore than one person pn"ared this document. attach additional signed sheets conforming 10 the appropriale Official Form for each person.

A bankruptcy pelition prepare "s failure 10 comply with the provisions oftitle I I and Ihe Federal Rules ofBankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.c. § 110;
18 U.S.c. § 156.



                  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


     I, the                                           [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership)                                  .               _ [corporation or partnership1named as debtor in this case, declare under penalty of perjury that I have
read the foregoing sununal f and schedules, consisting of.J.g_ sheets (Total shown on summary page plus I), and that they are true and correct to the best of my
knowledge, infonnation, at.d belief.


Date                                          •                                       Signature: ._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                 •

                                                                                                      [Print or type name of individual signing on behalf of debtor.]


[An individual signing on lehalfofa partnership or corporalion must indicate position or relationship to debtor.] 



Penaltyfor maklngafalse ,,1atement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571. 

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B 7 (Official Form 7) (04/10)

                          UNITED STATES BANKRUPTCY COURT
                                                 Eastern District of New York


In re: Let~sha Robinette Smith                                              Case No. _ _ _--:::::-_-:-_ _ _ _ _ _ __




                                      STATEMENT OF FINANCIAL AFFAIRS

          Tilis statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the infonnalion for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
infonnation for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An ir.dividual debtor engaged in business as a sole proprietor, partner, family fanner, or self-employed professional,
should pro, ,de the infonnation requested on this statement concerning all such activities as well as the individual's personal
affairs. To Indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's paren or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U .S.c.
§112 and Fed. R. Bankr. P. 1007(m).

          Qilestions I - 18 are to be comp!t:ted by all debtors. Debtors that are or have been in business, as defined below, also
must compj,te Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional srace is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number ofthe question.


                                                              DEFINITIONS

           "bl business." A debtor is "in business" for the purpose ofthi8 fonn if the debtor is a corporation or partnership. An
individual dt:btor is "in business" for the purpose of this fonn if the debtor is or has been, within six years immediately preceding
the filing of1his bankruptcy case, any ofthe following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employe·:t full-time or part-time. An individual debtor also may be "in business" for the purpose of this fonn if the debtor
engages in a 'rade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

            "In :ider." The tenn "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relative!:; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or Ilore of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affili;:tes; any managing agent of the debtor. 11 U.S.C. § 101.

                                                                    -   -~---~---          ----~-~-~-~------




       1.   Incltme from employment or operation of business

None        Stall: the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
o           the'lebtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beg nning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the hasis of a fiscal rather than a calendar year may report fiscal year income. IdentifY the beginning and ending dates
            of tl. e debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
        •   under chapter 12 or chapter 13 mu>.t state income of both spouses wheth~ or not a joint petition is filed, unless the
            spolSes are separated and a joint petition is not filed.)

                      AMOUNT                                                          SOURCE

                          $40,708.40                      Employment (Brookhaven National Laboratory-2010)
                                               $48,850.08 Employment (Brookhaven National Laboratory-2009)
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                                                                                                                                         2

           2.    Income other than from employment or operation of business

 None     Stale the amount of income received by the debtor other than from employment, trade, profession, operation of the
o         deb or's business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joil t petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          mu t state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          pet lion is not filed.)

                     AMOUNT                                                                   SOURCE

                            $400.00                                                           Child Support



          3.     Payments to creditors

          COMplete a. or h. t as appropriate, and c.
None
 o	       a. 1i/dividual or joint debtor(sj with primarily consumer debts: List all payments on loans, installment purchases of
          goo ds or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          thi~ case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indcate with an asterisk e') any payments that were made to a creditor on account of a domestic support obligation or
          as ,>art of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          age ICy. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          wh, ther or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                NAME AND ADDRESS OF CREDITOR                  DATES OF             AMOUNT               AMOUNT
                                                              PAYMENTS             PAID                 STILL OWING

   CitiMort£lage, PO Box 163040                                09/03/2010                  1,000.00                 145,000.00
   Columbu 5, OH 43218

None
o	        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
          con ;titutes or is affected by such transfer is less than $5,850'. If the debtor is an individual, indicate with an asterisk
          (*)my payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          rep;.'yment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
          fililg under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
          not 1 joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAlvfE AND ADDRESS OF CREDITOR 	                         DATES OF                  AMOUNT               AMOUNT
                                                                   PAYMENTS!                 PAID OR              STILL
                                                                   TRANSFERS                 VALUE OF             OWING
                                                                                             TRANSFERS




            •




           •Amount subject to adjustment on 4101113, and every three years thereafter with respect to cases commenced on or
after the date ,;if adjustment.
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                                                                                                                                     3

None
GJ       c. /11 debtors: List all payments made within one year immediately preceding the commencement ofthis case
         to cr for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         aj(!int petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                  DATE OF             AMOUNT               AMOUNT
               AND RELATIONSHIP TO DEBTOR                    PAYMENT             PAID                 STILL OWING




          4. Suits and administrative proceedings, executions, garnishments and attachments

None      a. I:"ist all suits and administrative proceedings to which the debtor is or was a party within one year immediately
[if       pI<: ;:eding the filing ofthis bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
          inhrmation concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
          an«1 a joint petition is not filed.)

               CAPTION OF SUIT                                                   COURT OR AGENCY                STATUS OR
               AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION




None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
[if       yell r immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
          mt!;t include information concerning property of either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS                                                                       DESCRIPTION
               OF PERSON FOR WHOSE                           DATE OF                                  AND VALUE
               BENEFIT PROPERTY WAS SEIZED                   SEIZURE                                  OF PROPERTY




          5.   Repossessions, foreclosures and returns

None     Lis: all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
[if      of.Oreclosure or returned to the seller, within one year immediately preceding the commencement' of this case.
         (Mirried debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
         sp<,uses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                       DATE OF REPOSSESSION,                          DESCRIPTION
               NAME AND ADDRESS                        FORECLOSURE SALE,                      •       AND VALUE
               OF CREDITOR OR SELLER                   TRANSFER OR RETURN                             OF PROPERTY
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                                                                                                                                              4

                 6.   Assignments and receiverships

None             a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
GJ               COl runencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
                 eitrler or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                 filed.)

                                                                                                                TERMS OF
                      NAME AND ADDRESS                          DATE OF 	                                       ASSIGNMENT
                      OF ASSIGNEE 	                             ASSIGNMENT                                      OR SETTLEMENT




None 	           b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
GJ 	             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                 in,lude information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                 spluses are separated and a joint petition is not filed.)

                                                      NAME AND LOCATION                                                   DESCRIPTION
                      NAME AND ADDRESS                OF COURT                                       DATE OF              AND VALUE
                      OF CUSTODIAN                    CASE TITLE & NUMBER                            ORDER                Of PROPERTY




-        --- -----_._-------------------­
        ..




                 7.   Gifts

None 	           Li:;t all gifts or charitable contributions made within one year immediately preceding the commencement of this case
~            	   ex ~ept ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                 al1l:l charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                 ch lpter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                 the spouses are separated and a joint petition is not filed.)

                 NAME AND ADDRESS                    RELATIONSHIP                                                         DESCRIPTION
                 O:PERSON                            TO DEBTOR,                      DATE                                 AND VALUE
                 Ol ORGANIZATION                     IF ANY                          OF GIFT                              OF GIFT




                 8.   Losses

None 	           L,;t all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
£ia 	            01 this case or since the commencement ofthis case. (Married debtors filing under chapter 12 or chapter 13 must
                 in;lude losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                 jOillt petition is not filed.)

                 DI:SCRIPTJ"ON                  DESCRIPTION OF CIRCUMSTANCES AND, IF
                 AID VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                           •          DATE
                 PJ:OPERTY                      BY INSURANCE, GIVE PARTICULARS                                            OF LOSS
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                                                                                                                                      5


            9.   Payments related to debt counseling or bankruptcy

None 	      Lis all payments made or propert:r transferred by or on behalf of the debtor to any persons, including attorneys, for
o	          cor mltation concerning debt consGlidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
            wit lin one year immediately preceding the commencement of this case.

                                                          DATE OF PAYMENT,                    AMOUNT OF MONEY OR
            Nfl ME AND ADDRESS                            NAME OF PAYER IF                    DESCRIPTION AND
            OF PAYEE                                      OTHER THAN DEBTOR                   VALUE OF PROPERTY


   Start Fre: ,h Today                                    10/11/2010                           30.00



            10, Other transfers
None
Gi:f         a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
            the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
            thi : case. 	(Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
            we ether or not a joint petition is Jiled, unless the spouses are separated and a joint petition is not filed.)
            N1ME AND ADDRESS OF TR,\NSF EREE,                                       DESCRIBE PROPERTY
            Rf LATIONSHIP TO DEBmR                                                  TRANSFERRED AND
                                                                     DATE           VALUE RECEIVED


None
lit         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
            to 1 self-settled trust or similar dovice of which the debtor is a beneficiary.

            Ni ,ME OF TRUST OR OTHER                      DATE(S)OF                 AMOUNT OF MONEY OR DESCRIPTION
            DJ :VICE                                      TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR'S
                                                                                    INTEREST IN PROPERTY



-_._-----------------------_._-----------­
            11. Closed financialacconnts

None 	      Li ;t all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
Gi:f 	      cl. ,sed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
            ch !cking, savings, or other finan,:ial accounts, certificates of deposit, or other instruments; shares and share accounts
            he .d in banks, credit unions, pemion funds, cooperatives, associations, brokerage houses and other financial
            in titutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
            in truments held by or for either or both spouses whether or not ajoint petition is filed, unless the spouses are
            se )arated and a joint petition is not filed.)

                                               TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
            N \ME AND ADDRESS                  DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
            o ; INSTITUTION                    AND AMOUNT OF FINAL BALANCE                              OR CLOSING

                                                                                                            •
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                                                                                                                                      6

           12 Safe deposit boxes

None 	    Li: t each safe deposit or other bo:< or depository in which the debtor has or had securities, cash, or other valuables
GT 	      wi hin one year immediately pre,::eding the commencement of this case. (Married debtors tiling under chapter 12 or
          ch .pter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
          th, spouses are separated and a j c:.jnt petition is not filed.)

          NJ ",'\4E AND ADDRESS               NAMES AND ADDRESSES                 DESCRIPTION          DATE OF TRANSFER
          01 BANKOR                           OF THOSE \v1TH ACCESS               OF                   OR SURRENDER,
          0" HER DEPOSITORY                   TO BOX OR DEPOSITORY                CONTENTS             IF ANY




          13 Setoffs

None 	    Li :t all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
QJ 	      thl commencement of this case. (Married debtors filing under chapter 12 or chapter t 3 must include information
          co lceming either or both spouse::: whether or not a joint petition is filed, unless the spouses are separated and a joint
          pe ition is not filed.)

                                                                        DATE OF                   AMOUNT
          N. I.ME AND ADDRESS OF CREDITOR                               SETOFF                    OF SETOFF




                14. Property heJd for anclther person

None 	    Li ;t all property owned by anoth,er person that the debtor holds or controls.
QJ
          N \.ME AND ADDRESS                       DESCRIPTION AND
          Q 1 0WNER                                VALUE OF PROPERTY                                  LOCATION OF PROPERTY




          1~.   Prior address of debtor

None

G1        If jebtor has moved within thre~:~ years immediately preceding the commencement of this case, list all premises
          w lich the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
          til ~d, report also any separate address of either spouse.

          A )DRESS                                 NAME USED                               DATES OF OCCUPANCY




                              •                                                                               •
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                                                                                                                                      7


          16. Spouses and Former Spouses

None 	    Ifl1e debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
          Ca ifornia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
          ye: .rs immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
          an: . fOroler spouse who resides OJ resided with the debtor in the community property state.

          NJME


-------------------------------~                                                                       ---.
                                                                                                 .. - ..
          17 Environmental Information.

          Fo . the purpose of this question, I:he following definitions apply:

          HE lVironmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
          reI ~ases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
          otJ er medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
          or material.                                                         .

          "s ten means any location, facility, or property as defined under any Environmental Law, whether or not presently or
          fo merly ov,ned or operated by the debtor, including, but not limited to, disposal sites.

          "f azardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
             .lerial, pollutant, or contaminant or similar terol under an Environmental Law.
          ffi;




None      a List the name and address of .,:very site for which the debtor has received notice in writing by a governmental
~         ur it that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
          gc I'emmental unit, the date ofth·e notice, and, if known, the Environmental Law:

                 SITE NAME               NAME AND ADDRESS                         DATE OF                  ENVIRONMENTAL
                 AND ADDRESS             OF GOVERN'MENTAL UNIT                    NOTICE                   LAW




None      b. List the name and address of I~very site for which the debtor provided notice to a governmental unit of a release
[tJ       of Hazardous Material. Indicate :the governmental unit to which the notice was sent and the date ofthe notice.

                 SITE NAME               NAME AND ADDRESS                         DATE OF        ENVIRONMENTAL
                 AND ADDRESS             OF GOVERNMENTAL UNIT                     NOTICE         LAW




None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
~         re :pect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
          to the proceeding, and the docket number.

                 NAME AND ADDRESS                        DOCKET NUMBER                     STATUS OR
                 OF GOVERNMENTAL mnT                                                       DISPOSITION




          11 • Nature, location and naml,: of business

None      a. lfthe debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
GtJ       ar d beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
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                                                                                                                                        8

          ex, Gutive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          oth :r activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          wh ch the debtor owned 5 percen' or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities, within six years immediately preceding the commencement of this case.

               If the debtor is a corporatiofl, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS
                                OF SOCIAL· SECURITY                                                                  BEGIN'NING AND
               NAME 	           OR OTIlER INDIVIDUAL                 ADDRESS         NATURE OF BUSINESS              ENDING DATES
                                TAXPAYER·I.D. NO.
                                (ITIN)! COMPLETE EIN




None      b. [dentify any business listed in response to subdivision a., above, that is "single asset real estate" as
Gl        del ined in II U.S.C § 101.

               NAME 	                                     ADDRESS




           Th ~ following questions are to b(~ completed by every debtor that is a corporation or partnership and by any individual
debtor who i . or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, direc :or, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, othe . than a limited partner, of a p,lrtnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- 0 part-time.

          (Al individual orjoint debtor should complete this portion ofthe statement only if the debtor is or has been in
business, as, refined above, within six yean' immediately preceding the commencement ofthis case. A debtor who has not been
in business 1I ithin those six years should go directly to the signature page.)




          19, Books, records and financhl statements

None      a, :'ist all bookkeepers and accountants who within two years immediately preceding the filing of this
[if       bOll kruptcy case kept or supervised the keeping of books of account and records of the debtor.

               NAME AND ADDRESS 	                                                              DATES SERVICES RENDERED




None      b. list all firms or individua~ who within two years immediately preceding the filing of this bankruptcy·
[if       ca~ ~ have audited the books of account and records, or prepared a financial statement of the debtor.

               NAME 	                                     ADDRESS                              DATES SERVICES RENDERED
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                                                                                                                                  9

 None     c. Jist all finns or individuals who at the time of the commencement of this case were in possession of the 

 Ga       bot ks of account and records of the debtor. If any of the books of account and records are not available, explain. 


               NAl'vfE                                                                      ADDRESS




 None     d. ~ist all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a 

 Ga       fin ,ncial statement was issued by the debtor within two years immediately preceding the commencement of this case. 


                    NAl\.fE AND ADDRESS                                                          DATE ISSUED




          20. Inventories

None      a. ~ist the dates of the last two inventories taken of your property, the name of the person who supervised the
Ga        tak ng of each inventory, and the dollar amount and basis of each inventory.

                                                                                                 DOLLAR AMOUNT
                                                                                                 OF INVENTORY
                    DATE OF INVENTOF:Y              I},'VENTORY SUPERVISOR                       (Specify cost, market or other
                                                                                                 basis)




None      b. List the name and address of the person having possession ofthe records of each of the inventories reported
Ga        in ; " above.

                                                                                                 NAME AND ADDRESSES
                                                                                                 OF CUSTODIAN
                   DATE OF INVENTORY                                                             OF INVENTORY RECORDS




         21 . Current Partners, Officers" Directors and Shareholders

None          a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
Gil           partnership.

              NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST




None         b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
Ga           directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
             corporation.                  •
                                                                                        NATURE AND PERCENTAGE
                  NAME AND ADDRESS                                TITLE                    OF STOCK OWNERSHIP
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                                                                                                                                  10

          22 Former partners, officers, directors and shareholders

None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
[if       pre :eding the commencement of Ihis case.

               NAME                                          ADDRESS                    DATE OF WITHDRAWAL




None      b. If the debtor is a corporation., list all officers or directors whose relationship with the corporation terminated
[if       wi' hin one year immediately prel:eding the commencement of this case.

                    NAME Al';1) ADDRESS                           TITLE                           DATE OF TERM INATION




          23 . Withdrawals from a partmrship or distributions by a corporation

None      If' he debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
[if       im luding compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
          du jog one year immediately pre,ceding the commencement of this case.

                    NAME & ADDRESS                                                          AMOUNT OF MONEY
                    OF RECIPIENT,                            DATE Al';1) PURPOSE            OR DESCRIPTION
                    RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                  AND VALUE OF PROPERTY




          24 Tax Consolidation Group.

None      If he debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
G1        co lsolidated group for tax purpo;;es of which the debtor has been a member at aoy time within six years
          im nediately preceding the commencement of the case.

              NAME OF PARENT CORPORATION                     TAXPAYER-IDENTIFICATION NUMBER (EIN)




          25 Pension Funds.

None      If he debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
[if       wl ich the debtor, as an employer, has been responsible for contributing at any time within six years immediately
          pr' ceding the commencement of the case.

              NAME OF PENSION FUND                      TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                          * * * * * *

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                                                                                                                                                              11

            [If ;ompleted by an individual or individual and spouse]

            I d, dare under penalty of peIjury that I have read tbe answers contained in the foregoing statement of financial affairs
            an< any attachments thereto and that they are true and correct.

                                                                                    Signature
             D~    te     10/11/2010                                                of Debtor

                                                                                    Signature of
                                                                                    Joint Debtor
             Dl te                                                                   (if any)




             [I[ 'ompleted on behalfoja partnership or corporation]

             I d, clare under penalty of perjury that I ,ave read the answers contained in the foregoing statement of financial affairs and any attachments
             the eto and that they are true and correcl to the best of my knowledge, information and belief,



             D. :e                                                                  Signature

                                                                                    Print Name and
                                                                                    Title

                         [An individual signing on bel:alfofa partnership or corporation must indicate position or relationship to debtor,]



                                                                  _continuation sheets attached 



                    Penallyjor makingajalse statement: Fine ojup to $500.000 or imprisonmentjiJrup to 5 years, Or both. 18 US.c. §§ 152 and 3571 




            OF CLARATION AND SIGNATURI: OF NON-ATTO&"!EY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § ltO)

   I declare un<   er penalty of perjury that: (I) I am II bankruptcy petition preparer as detined in II U.S.C. § 110; (2) I prepared this document for
compensation,      nd have provided the debtor with a copy of this document and the notices and information required under II U.s.c. §§ II00b), 11O(h), and
342(b); and, (3      ifrules or guidelines have been promUlgated pursuant to II U,S.C. § I100h) setting a maximum fee for services chargeable by bankruptcy
petition prepar'   rs, I have given the debtor notice of the maximum amount before preparing any document tor filing for a debtor or accepting any fee from
the debtor, as r   <Juired by that section.



  Tori Stall on, Bankruptcy Petition I=>reparer
                                                       -------
  Printed or T) Jed Name and Title, if any, of Bankruptcy Petition Preparer                Social-Security No. (Required by II U.S.c. § 110.)

I[ the bankrupt y petition preparer is not all individual. state the name, title (if any), address, and social-security number ofthe officer, principal,
responsible pe. ~on, Or partner who signs this document.

  1010 Pe: 'ion Place
  Cedar PClrk, TX 78613
  Address

~ '(.dItZL!/L£i.~j,,--_ __                                                                10/11/2010
  Signature of lankruptcy Petition Preparer                                                Date                                                        •
Names and SO! ial-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankrupt~'Y petition preparer is
not an individ. d:

If more than OT ~ person prepared this document, atlach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy rJetition preparer'sfailure to comply with the provisions oftitle 11 and the Federal Rules ofBankruptcy Procedure may result in
fines or impri 'onment or both. 18 V.S.C § 151i.
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B 22C (Official Form 22C ) (Chapter 13) (04/10)



 In re Letesha Rol,inette Smith                                       According to the calculations required by this statement:
                D :btor(s)                                            ~ The applicable commitment period is 3 years.
                                                                      o  The applicable commitment period is 5 years.
 Case Number:
                                                                      o  Disposable income is determined under § 1325(b)(3).
                                                                      ~ Disposable income is not determined under § 132S(b)(3).
                      (I 'known)
                                                                      (Check the boxes as directed in Lines 17 and 23 of this statement.)


                        CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                 AND (:ALCULATION OF r:OMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Sche( ules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing
jointly, Joint debto s may complete one statement only.


                                                   Part I. REPORT OF INCOME
          MaritallfiI ng status. Check the box that applies and complete the balance of this part of this statement as directed.
          a.1ll Unml Tried. Complete only Column A ("Debtor's Income") for Lines 2-10.
          b.OMarr ed. Com~lete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
          All figures nust reflect average monthiiY income received from all sources, derived during the           ColumnA           ColumnB
          six calenda . months prior to filing the bankruptcy case, ending on the last day ofthe month             Debtor's          Spouse's
          before the j iling. If the amount of monthly income varied during the six months, you must                Income            Income
          divide the ~ ix-month total by six, and enter the result on the appropriate line.
          Gross wag !s, salary, tips, bonuses, overtime, commissions.                                          $        4,070.84 $
          Income fr « m the operation of a business, profession, or farm. Subtract Line b from Line a
          and enter tJ.e difference in the appropriate column(s) of Line 3. If you operate more than one
          business, p -ofession or farm, enter aggregate numbers and provide details on an attachment.
          Do not ent( r a number less than zero. Do not include any part ofthe business expenses
   3      entered Oil Line b as a deduction in ll)art IV.
            a.      Gr )SS receipts                                    $
            b.      Or tinary and necessary busim:ss expenses          $
            c.      Bu ;iness income                                   Subtract Line b from Line a             $           0.00 $
          Rent and 4 ther real property incom'i~. Subtract Line b from Line a and enter the difference
          in the appr')priate column(s) of Line 4. Do not enter a number less than zero. Do not include
          any part 0 rthe operating expenses eilltered
                                                 ..
                                                        on Line b as a deduction in Part IV.
                                                                                     ..~




   4        a.      Gr )SS receipts                                    $
            b.      Or linary and necessary operating expenses         $                                                                        I


            c.      Re It and other real property income               Subtract Line b from Line a             $           0.00 $
   5      Interest, d .vidends, and royalties.                                                                 $           0.00 $
   6      Pension al d retirement income.                                                                      $           0.00 $
          Anyamou I1ts paid by another person or entity, on a regular basis, for the household                                                  I
   7      expenses ( f the debtor or the debtor's dependents, including child support paid for that
          purpose•. )0 not include alimo\lY or s,eparate maintenance payments or amounts paid by the
          debtor's sp Juse.                                                                                    $
                                                                                                                    .          i

                                                                                                                         400.00 $
          Unemploy ment compensation. Enter the amount in the appropriate colunm(s) of Line 8.
          However, i f you contend that unemployment compensation received by you or your spouse
          was a bene ftt under the Social Security Act, do not list the amount of such compensation in
   8      Colunm A Dr B, but instead state the amount in the space below:
           Unemplo~  ment compensation claimed to
           bea bene' it under the Social Security Act      Debtor $             ISpouse $                      $           0.00 $
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B 22C (Official Fonn 22() (Chapter 13) (041l0)                                                                                                                        2
             Income fro n all other sources. Specify source and amount. If necessary, list additional 

             sources on : separate page. Total and enter on Line 9. Do not include alimony or separate 

             maintenan.:e payments paid by your :spouse, but include aU other payments of alimony or 

             separate m lintenance. Do not includl;~ any benefits received under the Social Security Act or 

   9
        payments f( ceived as a victim of a war crime, crime against humanity, or as a victim of

             internatiom i or domestic terrorism. 

              a.                                                                                                   $

              b.                                                                                                   $                      $      0.00 $
             Subtotal. P dd Lines 2 thru 9 in Columl1 A, and, if Column B is completed, add Lines 2
  10
             through 9 il Column B. Enter the tota1(s).                                                                                   $   4,470.84 $
            . Total. IfC< lumn B has been completed, add Line 10, Column A to Line 10, Column B, and 

  11        Ienter the to a1.If Column B has not been completed, enter the amount from Line 10, Column 

              A.                                                                                                                          $                 4,470.84
                           --.                                                                                                                             .... >:'
                            RartU. CA.L('}ULATI~N~bF§1~25(b)(4)COMMITMENTP,'~OD
                                             ,   -.'<".     ~   ,"   - - --     -   - - •- . --   .   . -   "-.         -       • -   •


  12         Enter the ~ mount from Line 11.                                                                                                          $     4,470.84
             Marital ad ustment. If you are married, but are not filing jointly with your spouse, AND if you contend that 

             calculation )fthe commitment period tinder § 1325(b)(4) does not require inclusion of the income of your 

             spouse, entl :r on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a 

             regular bas: s for the household expense:s ofyou or your dependents and specifY, in the lines below, the basis 

             for excludil .g this income (such as payment ofthe spouse's tax liability or the spouse's support of persons 

             other than t le debtor or the debtor's dependents) and the amount of income devoted to each purpose. If 

  13         necessary, 1ist additional adjustments 011 a separate page. Jfthe conditions for entering this adjustment do not
             apply, entel zero.
              a. 

              b. 

              c. 

             Total and e Iter on Line 13.
                                                                                                                   I!                 I
              $         0.00
  14         Subtract L ine 13 from Line 12 and enter the result.                                                                                     $     4,470.84

  15          Annualize( current monthly income for § 132S(b)(4). MUltiply the amount from Line 14 by the number 12
            . and enter fr e result.                                                                                $ 53.650.08
            Applicable median family income. Enter the median family income for applicable state and household size. 

  16        (This infon lation is available by family size at ,\'Ww.usdoj.gov/ust/ or from the cIerk of the bankruptcy 

            court.)
                                                   Now York
            a. Enterdet tor's state of residence: _.                  b. Enter debtor's household size:           3      $ 69,174.00
            ApplicatiOl I of § 132S(b)(4). Check th,,! applicable box and proceed as directed.

  17
            !ill The am )unt on Line IS is less than the amount on Line 16.        Check the box for "The applicable commitment period is
                 3 years , at the top of page I of this statement and continue with this statement.
            o   The am mnt on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period
                 is 5 yel rs" at the top of page I of this statement and continue with this statement.

            Part III. <\PPLICATION OF § 1325QJ)(3) FORDETERMINING DISPOSABLE INCOME
 18         Enter the ~ mount from Line 11.
        i
                                                                                                                                                      $     4,470.84
                      ..                                                                                                    .
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B 22C (Official Form nC) (Chapter 13) (04/10)                                                                                                                                                                                     3
          Marital adj ustment. If you are marrie(I, but are not filing jointly with your spouse, enter on Line 19 the total
          of any incOl Ie listed in Line 10, Colurru1 B that was NOT paid on a regular basis for the household expenses
          of the debto . or the debtor's dependent!: '. Specify in the lines below the basis for excluding the Column B
          income (su( h as payment of the spouse 's tax liability or the spouse's support of persons other than the debtor
          or the debto ·'s dependents) and the am( IUnt of income devoted to each purpose. If necessary, list additional
  19      adjustments on a separate page. If the c'onditions for entering this adjustment do not apply, enter zero.




         H

                                                                                                                                    $
           b.                                                                                                                       $
           c.                                                                                                                       $

          Total and el ter on Line 19. 
                                                                                                                                                                 $                   0.00
  20      Current m mthly income for § 1325(1:1)(3). Subtract Line 19 from Line 18 and enter the result. 
                                                                                               $          4,470.84
                                                                                                                                                                                                                                      I
  21      Annualizet current monthly income Ifor § 1325(b)(3). Multiply the amount from Line 20 by the number 12
          and enter th ~ result.                                                                                 $                                                                                               53,650.08'
  22      Applicable median family income. ErIter the amount from Line 16.                                                                                                                               $       69,174.00

          Applicatim of § 1325(b)(3). Check thl:~ applicable box and proceed as directed.
          o The am mnt on Line 21 is more tilian the amount on Line 22. Check the box for "Disposable income is determined
  23          under S 1325(b)(3)" at the top of piIge I of this statement and complete the remaining parts of this statement.
          IlJThe am mnt on Line 21 is not mOl''e than the amount on Line 22. Check the box for "Disposable income is not
              determ ned under § 1325(b)(3)" at the top of page I of this statement and complete Part VII of this statement. Do not
              comph te Parts IV, V, or VI.

            ....        ...   "'....•     R~rtl¥~(JA.hCUILA'iIaNf~~~DEnUCTIONS:FRoNt;lNCOME
                                 , -"",.::, - ",- ," -" - :", .\&_ ,."             ->_~ C-' __,
                                                                       - - - ." ';>::::->F" ,'-;<'<- -                  -< ,:
                                                                                                        ~-:-- ,f< ':-C,":,:
                                                                                                       "'<"to ',': "' -       ' -_ .-.,--, ..
                                                                                                                              -               ....
                                                                                                                                                   .•,.•
                                                                                                                                         ~- .'7:;\ ~_ :;,,-----'--",>:~-"*-~t-,.._-_-...,'---,'';''> j .,.,.,~-
                                                                                                                                               c-                                                             -""","~-~--""""'''':--"74


                     Su jP~ffA: '~~ductions                      ullde;~~tit~~~rds:6                                                           .;~~~.Se~hec(IRS)
         National Sl andards: food, apparel and services, housekeeping supplies, personal care, and
         miscellane( us. Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living
 24A
         Expenses fe r the applicable household :',ize. (This information is available at \vww.usdoj.gov/ust/ or from the
         clerk of ilie bankruptcy court.)                                                                                                                                                                $
         National Sl Ilndards: health care. Enter in Line al below the anlount from IRS National Standards for Out­
         of-Pockett ealth Care for persons unde:r 65 years of age, and in Line a2 the IRS National Standards for Out­
         of-Pockett ealth Care for persons 65 y':~rs of age or older. (This information is available at
         www.lIsdoj gov/ust! or from the clerk of the bankruptcy court.) Enter in Line bl ilie number of members of
         yourhousel old who are under 65 years of age, and enter in Line b2 the number of members of your
         household .. 'ho are 65 years of age or older. (The total number of household members must be the same as
         the number ;tated in Line 16b.) Multiply Line al by Line b 1 to obtain a total amount for household members
         under 65, at d enter the result in Line cl. Multiply Line a2 by Line b2 to obtain a total amount for household
24B      members 6~ and older, and enter ilie result in Line c2. Add Lines cl and c2 to obtain a total health care
         amount, ane enter the result in Line 24B.
          Householel members under 65 years of age                                                Household members 65 years of age or older
                                                                  ---------+----r---------------------.------~
          al.        AlI.,wance per member                                                        a2.       Allowance per member
          bl.        NUl Iber of members                                                          b2.       Number of members
          cl.        Sub:otal                                                                     c2.       Subtotal                                                                                    $
         Local Stane lards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
25A      Utilities Sta ldards; non-mortgage expenses for the applicable county and household size. (This information
       : is available It '.V\vw.ti:"doj,gov/ust! or fwm the clerk of the bankruptcy c o u r t ) . ·                                                                                                     $
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B 22C (Official Form 22C I (Chapter 13) (04/10)                                                                                 4
          Local Stan I lards: housing and utilitie',; mortgage/rent expense. Enter, in Line a below, the amount of the
          IRS Housin,~and Utilities Standards; mortgage/rent expense for your county and household size (this
          information is available at www.llsdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
          total of the ,werage Monthly Payments for any debts secured by your home, as stated in Line 47; subtract
          Line b from Line a and enter the result i.n Line 25B. Do not enter an amount less than zero.
 25B
            a.       IRS Housing and Utilities Standards; mortgage/rent expense      $
            b.      Av( rage Monthly Payment for any debts secured by your
                    hon Ie, if any, as stated in Line 47                              $

            c.      Net mortgage/rental expense                                       Subtract Line b from Line a.          $

          Local Stan ,lards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
          and 25Bdo :s not accurately compute the allowance to which you are entitled under the IRS Housing and
                          I



          Utilities Sm ldards, enter any additional amount to which you contend you are entitled, and state the basis for
  26      your conten :ion in the space below:

                                                  ---,
                                                                                                                            $

          Local Stan, lards: transportation; velllicle operation/public transportation expense. You are entitled to an
          expense alI( wance in this category reg<lrdless of whether you pay the expenses of operating a vehicle and
          regardless c f whether you use public transportation.
          Check the n Ll.ffiber of vehicles for which you pay the operating expenses or for which the operating expenses
 27A
          are include( as a contribution to your household expenses in Line 7. Do 01          o    2 or more.
          If you checl :ed 0, enter on Line 27 A the "Public Transportation" amount from IRS Local Standards:
          Transportat on. If you checked I or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS
          Local Stane ards: Transportation for the applicable number of vehicles in the applicable Metropolitan
          Statistical ;l rea or Census Region. (These amounts are available at ",'ww.usdoj.goviusti or from the clerk of
          the bankrup :cy court.)                                                                                           $
          Local Stan lards: transportation; additional public transportation expense. If you pay the operating
          expenses fo . a vehicle and also use public transportation, and you contend that you are entitled to an
 27B      additional d ~duction for your public tra3sportation expenses, enter on Line 27B the "Public Transportation"
          amount fror 1 IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust! or from
          the clerk of the bankruptcy court.)                                                                               $
          Local Stan' lards: transportation ownership/lease expense; Vehicle 1. Check the nUlllber of vehicles for
          which youe laim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
          two vehicle :.) 01 02 or more.
          Enter, in LiJ le a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
          (available a W\v,.".usdoj.gov/us[/ or from the clerk of the bankruptcy court); enter in Line b the total ofthe
          Average Mi 'nthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
  28      Line a and ( nter the result in Line 28. no not enter an amount less than zero.
            a.      IR~       Transportation Standards, Ownership Costs              $
            b.      Av( rage Monthly Payment for any debts secured by Vehicle I,
                    as s :ated in Line 47                                            $
            c.      Net ownership/lease expense for Vehicle I                        Subtract Line b from Line a.           $



                                                   •                                                                 •
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B 22C (Oflicial Form 22C (Chapter 13) (04/10)                                                                                       5
          Local Stan I ards: transportation ownr~rship/lease expense; Vehicle 2. Complete this Line only if you
          checked the "2 or more" Box in Line 28­
          Enter, in L1'1 e a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation 

          (available a1 ,,\'\vw.usdoJ.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the 

          Average M (nthly Payments for any delrts secured by Vehicle 2, as stated in Line 47; subtract Line b from 

  29 	    Line a and (nter the result in Line 29. no not enter an amount less than zero.
            a. 	    IRS Transportation Standards, Ownership Costs                       $
            b. 	    Av (rage Monthly Payment for any debts secured by Vehicle 2, 
                                          I
                    as s :ated in Line 47 
                                        $

            c. 	    Net ownershipllease expense for Vehicle 2                           Subtract Line b from Line a.      I     $
          Other NeeI ssary Expenses: taxes. Enler the total average monthly expense that you actually incur for all
  30      federal, stat ~, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
          taxes, socia -""'~lI,;ty taxes, and Medicare taxes. Do not include real estate or sales taxes.                        $
          Other NeeI ssary Expenses: involunhliry deductions for employment. Enter the total average monthly
  31      deductions hat are required for your employment, such as mandatory retirement contributions, union dues,
          and uniforn : costs. Do not include dis(:retionary amounts, such as voluntary 401(k) contributions.
                                                                                                                                $

          Other Nee I ssary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
  32      term life in : urance for yourself. Do not include premiums for insurance on your dependents, for whole
          life or for ~•ny other form of insuram::e.                                                                            $       I

          Other Nee I :ssary Expenses: court-ordered payments. Enter the total monthly amount that you are required
  '33     to pay purs. lant to the order of a court or administrative agency, such as spousal or child support payments.
          Do not incJude payments on past dOl' obligations included in Line 49.                                          $
          Other Nee, ~ssary Expenses: education for employment or for a physically or mentally challenged child.
          Enter the t( tal average monthly amount that you actually expend for education that is a condition of
  34
          employmeI t and for education that is rrequired for a physically or mentally challenged dependent child for 

         Iwhomnop Iblic education providing similar services is available. 
                                                    $
          Other Nee ~ssary Expenses: childcare. Enter the total average monthly amount that you actually expend on
  35      childcare- such as baby-sitting, day care, nursery and preschooL Do not include other educational
          payments.                                                                                                             $
          Other Nec $sary Expenses: health c~,re. Enter the total average monthly amount that you actually expend 

          on health c lre that is required for the health and welfare of yourself or your dependents, that is not reimbursed 

  36
          by insuram e or paid by a health savings account, and that is in excess ofthe amount entered in Line 24B. Do 

          not incIud. : payments for health insurance or health savings accounts listed in Line 39. 
                          $
         OtherNec !Ssary Expenses: telecommunication services. Enter the total average monthly amount that you
         actually pa , for telecommunication services other than your basic home telephone and cell phone service­
  37
         such as paE ers, call waiting, caller id, special long distance, or internet service--to the extent necessary for
         your health and welfare or that of your dependents. Do not include any amount previously deducted.                     $
  38     Total Exp' nses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                   $

                                   Subpart ]'~: Additional Living Expense Deductions
                          Note: Do not include any expenses that you have listed in Lines 24-37
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                            --------------------------------------------------------~--------,
            Health Insilrance, Disability Insuranl:e, and Health Savings Account Expenses. List the monthly 

            expenses in the categories set out in linl~s a-c below that are reasonably necessary for yourself, your spouse, or 



            .
            your depenc lents. 





            §)

                          l- ealth Insurance
  39
                b.        I isability Insurance                                         $

                c.        I- ealth Savings Account
            Total and e lter on Line 39
                                                                                                                                   $
            If you do 11 [)t actually expend this total amount, state your actual total average monthly expenditures in the
            space belm ':
            $
            Continued contributions to the care I}f household or family members. Enter the total average actual 

            monthly ex )enses that you will continue to pay for the reasonable and necessary care and support of an 

  40        elderly, chi )nically ill, or disabled member of your household or member of your immediate family who is 

            unable to p ly for such expenses. Do not include payments listed in Line 34. 
                                         $

            Protection against family violence. Enter the total average reasonably necessary monthly expenses that you 

  41        actually in( ur to maintain the safety of your family under the Family Violence Prevention and Services Act or 

            other applic able federal law. The nature of these expenses is required to be kept confidential by the court. 
  $
            Home enel gy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS 

            Local Stan. lards for Housing and Utilities, that you actually expend for home energy costs. You must 

  42
            provide yfl ur case trustee with documentation of your actual expenses, and you must demonstrate that               i $ 


            the additi( nal amount claimed is re21sonabJe and necessary_                                                        .

            Education expenses for dependent children under 18. Enter the total average monthly expenses that you 

            actually inl ur, not to exceed $147.92 per child, for attendance at a private or public elementary or secondary 

   43       school by) our dependent children les~;. than 18 years of age. You must provide your case trustee with 

            document; .Hon of your actual expemes, and you must explain why the amount claimed is reasonable 

            and neces~ ary and not already accollinted for in the IRS Standards. 
                                                 $
            Additional food and clothing expens1e. Enter the total average monthly amount by which your food and 

            clothing ex :>enses exceed the combined allowances for food and clothing (apparel and services) in the IRS 

  44        National Sl :mdards, not to exceed 5% of those combined allowances. (This information is available at 

            ·wvv\v.usdo .gov/usti or from the clerk nfthe bankruptcy court.) You must demonstrate that the additional 

            amount c1: .imed is reasonable and nl:!Cessary. 
                                                                      $
            Charitable contributions. Enter the amount reasonably necessary for you to expend each month on 

  45        charitable ( ontributions in the form of cash or financial instrunIents to a charitable organization as defined in 

            26 U.s.c.! 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                   $


  46        Total Add tional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                            $

                                                             Deductions for Debt
          Future pa: 'ments on secured claims. For each of your debts that is secured by an interest in property that 

          you own, 1: "t the name of the creditor, identify the property securing the debt, state the Average Monthly 

          Payment, a ld check whether the payment includes taxes or insurance. The Average Monthly Payment is the 

          total of all lmounts scheduled as contractually due to each Secured Creditor in the 60 months following the 

          filing ofth,: bankruptcy case, divided by 60. Ifnecessary, list additional entries on a separate page. Enter the 

        . total of the Average Monthly Payments on Line 47.

                       Na ne of Creditor          Property Securing the D~bt                Average       Does payment
 47
                                                                                            Monthly       include taxes

             a.
        i
             b.
             c.
                                                                                     Total: Add
                                                                                     Lines a, and c                                $
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     B 22C (Official Form 22( ) (Chapter 13) (04/l0)                                                                                                    7
               Other pay r lents on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
               a motor veb Ide, or other property necessary for your support or the support of your dependents, you may
               include in y mr deduction 1I60th of any amount (the "cure amount") that you must pay the creditor in addition
               to the paym mts listed in Line 47, in order to maintain possession of the property. The cure amount would
               include any sums in default that must b~ paid in order to avoid repossession or foreclosure. List and total any
               such amour ts in the following chart. Ifnecessary, list additional entries on a separate page.
       48
                         Na: ne of Creditor                  Property Securing the Debt                      l/60th of the Cure Amount
                 a.                                                                                     $
                 b.                                                                                     $
                 c.                                                                                     $
                                                                                                        Total: Add Lines a, b, and c     $                  i


               Payments ~ In prepetition priority cla:ims. Enter the total amount, divided by 60, of all priority claims, such
       49      as priority 1lX, child support and alimony claims, for which you were liable at the time of your bankruptcy
               filing. Do J lot include current obligations, such as those set out in Line 33.                                           $

               Chapter 1: administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
               resulting a( ministrative expense.

                 a.    Proj I cted average monthly chapter 13 plan payment.                             $
                 h.    Curr ~nt multiplier for your district as determined under
       50
                       sche lules issued by the Executive Office for United States                  i

                       Trus ees. (This information is available at www.usdoLgov/ust!
                       or fr )m the clerk of the bankruptcy court.)                                     x
                 c.    Ave; age monthly administrativ,,: expense of chapter 13 case
                                                                                                        Total: Multiply Lines a and b    $
                             A


       51      Total DedIlctions for Debt Payment. Enter the total of Lines 47 through 50.                                               $
                                                       <v"',/',   . '..   .'.   . ' .      .....   .'   '.'.::":"'''''''\.''
                                                                                                                                                    ,
                                                       SJtbpnrt D: Total Deductic)Dsfrom'iJn¢ome                                             .


       52      Total of al deductions from income. Enter the total of Lines 38,46, and 51.                                               $

                        Pa•i?V.nH~iB1V.fi~ATl()N OF DISPOSABLE INCOME;U~DER § 1325(bJ(2)
                                 >'      '.    \. ",               " .                                  -­    • - -"           -'   "



       53      Total curr mt monthly income. Enter the amount from Line 20.                                                              $       4,470.84
                Support ill come. Enter the monthly average of any child support payments, foster care payments, or
       54       disability p lyments for a dependent child, reported in Part I, that you received in accordance with applicable
              : nonbankruJ Itcy law, to the extent reasonably necessary to be expended for such child.                                   $
               Qualified J etirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
       55      wages as c~ mtributions for qualified retirement plans, as specified in § 541{b)(7) and (b) all required
               repayment: of loans from retirement p,ans, as specified in § 362(b)( 19).                                   $
       56      Total of al deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                          $




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B 22C (Official Form 22( ) (Chapter 13) (04!l 0)                                                                                             8
          Deduction or special circumstances. If there are special circumstances that justifY additional expenses for
          which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
          a-c below. I 'necessary, list additional entries on a separate page. Total the expenses and enter the total in
          Line 57. YI ,u must provide your case trustee with documentation of these expenses and you must
          provide a d etailed explanation of the special circumstances that make such expenses necessary and
          reasonable
  57                 Nat Ire of special eircumstance:"                                          AJnountofexpense
            a.                                                                                  $
            b.                                                                                  $
            c.                                                                                  $
                                                                                                Total: Add Lines a, b, and c   $

  58      Total adju! tments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter
          the result.                                                                                                          $
  59      MonthIyD sposable Income Under § 132S(b)(2). Subtract Line 58 from Line 53 and enter the result.                     $
                                     "


                                                       ,.      ' . . EXPENSE
                                                   PartVI:: ADDITIONAL   ".
                                                                             CLAIMS '
          Other Expl nses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
          and welfare of you and your family and that you contend should be an additional deduction from your current monthly
          income und :r § 707(b)(2)(A)(ii)(I). Ifnecessary, list additional sources on a separate page. All figures should reflect your
          avera emo lthly eXl!ense for eaeh item: Total the expenses.
  60                                        Expense Description                                     Monthly Amount
            a.                                                                                 $
            b.                                                                                 $
            c.                                                                                 $
                                                                          Total: Add Lines a, b, and c      $

                            ',.    ..    '   .'
                                                               Pa,rt VU: VERIFICATION
                                                                .......        .
                                                                               .



          I declare un ler penalty of peIjury that the information provided in this statement is true and correct. (Ifthis is ajoint case,
          both debtor. must sign.)

  61
                           Date:                  10/11/2010                                Sign,lure:   ~i- t'. . ~;£
                                                                                                          (Debtor)
                           Date:                                                            Signature:
                                                                                                      (Joint Debtor, if any)
                Case 8-10-78270-reg           Doc 1       Filed 10/21/10            Entered 10/21/10 10:37:51

                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRlCT OF NEW YORK

                                             PAYMENT AOVICES COVER SHEET
                                             in Accordance With 11 U.S.C. Sec. 521(a)(1 )(B)(iv)


 In re:                                                                                        Case No._ _ _ _ __

      Letesha Robine tte Smith                                                                 Chapter:_1_3_ __

                                      Debtor(s)


 Please Check the J Ippropriate Box.

 For Debtor:

[Z]   Payment Advic ~s are Attached.

            Number of Payment Advices Attached:          2
            Period Cm ered: August 2010 - Sepl:_e_m_b_e_r_2_0_10_ _ _ _ _ _ _ _ (If period covered is less than 60 days or 8 

           weeks, aft< ,ch an explanation) 

           Number of Employers From Whom Debtor Received Payment Advices During the 60 Days Prior to Filing the 

           Bankruptc~ . Petition: __1__ 



 For Joint Debtor, f applicable:

D     Payment Advic ~s are Attached.

           Number of Payment Advices Attached: _ __
           Period Cm ered: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (If period covered is less than 60 days or 8 

           weeks. att. Ich an explanation) 

           Number of Employers From Whom Debtor Received Payment Advices During the 60 Days Prior to Filing the 

           Bankruptc~' Petition: _ __ 





For Debtor:

D          No Payme 1t Advices are Attached (l;he debtor had no income from any employer during the 60 Days Prior to Filing
           the Bankn.: DtCy Petition).

D          No Payme 1t Advices are Attached for Some Other Reason. (Attach an explanation)

For Joint Debtor, f applicable:

D	         No Payme 1t Advices are Attached (the debtor had no income from any employer during the 60 Days Prior to Filing
           the Bankru DtCy Petition).

D	         No Payme 1t Advices are Attached for Some Other Reason. (Attach an explanation)

I declare under pen :ilty of perjury that I have read this Payment Advices Cover Sheet and the attached payment advices.
consisting of _2__ sheets, numbered 1 through _2_, and that they are true and correct to the best of my knowledge,
information and beli af.


Signa,ureofDeb'oro 	           ~£. I'~ 
                                   Date: 10/11/2010

Signature of Joint [ ebtor:                       ._ _ __                  Date: _ _ _ _ _ _ _ _ __ 



Payment Advices Cover Sh. et4l11106                                                  Deputy Clerk's Initials: _ _ __ 

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 B280 (Form 280) (\11/05)

                                               United States Bankruptcy Court
                                                                                 Eastern       District Of            New York



   In re Letesha Rob nette Smith 	                                                                                   Case No.

                           [ ebtor
                                                                                                                      Chapter 	13

                               DISCLOSURE OF COMPEt-,ISATION OF BANKRUPTCY PETITION PREPARER

          [fhis form mllst be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.s.c. § 11 O(h)
          (2).]
 1. 	       Under 11 L .S.c. § II0(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
            prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
            bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be
            paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
            follows:
            For documt nt preparation services I have agreed to accept............................... $ 199.00 


            Prior to the filing of this statement I have received............................................. $ 199.00 


            Balance Du ; ......................................................................................................... $ 0.00 

                                                                 .	            .     .    All documents associated with the filing
 2. 	       I have prep; ,red or caused to be prepared the followmg documents (Itellllze): f h Ch       13 B k
                                                                                          o t e 	 apter     an ruptcy.
            and providt d the following services (itemize): Bankruptcy Petition Preparation Services

 3. 	       The source )fthe compensation paid to me was:
                  IX [tebtor                               r
                                              Other (specify)

4. 	        The source )f compensation to be paid to me is:
                  IX [ebtor                               r
                                               Oti:ler (specify)

5. 	        The foregoi 19 is a complete statement of any agreement or arrangement for payment to me for preparation of the petition filed
            by the debt( res) in this bankruptcy case.

6. 	        To my kno' vledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
            case except as listed below:

            NAME 	                                                           SOCIAL SECURITY NUMBER
   , ,,"f) Y I . /1.L/1 ;/// /./J"j'{ ,                                                                                                       10/11/2010
X   '\:::::::1lL-> '1. {..; ~~.,A./V" ' - .
                         Si! nature                                         Social Security number of bankruptcy                              Date
Tori Stallion, Bani< ruptcy Petition Preparer                               petition preparer (If the bankruptcy
Printed name and titl~, if any, of Bankruptcy                               petition preparer is not an individual,
                   Petition' 'reparer                                       state the Social Security number of the
Address: 1010 Peytor Place                                                  officer, principal, responsible person or
                                                                            partner of the bankruptcy petition preparer.)
           Cedar Park, TX 78613                                             (Required by II USc. § 110.)
                                                                                                                                                                 •

----------------------_ .... _----------------------------_ ....,._----------------------------------------------------------------------------------------------------_ ...

A bankruptcy petitic n preparer's failure to comply with the provisions of title 1 1 and the Federal Rules of Bankruptcy Procedure
may result in fines 01 imprisonment or both. 1 T U.s.c. § 110; 18 USc. § 156.
              Case 8-10-78270-reg                                                            Doc 1                        Filed 10/21/10                              Entered 10/21/10 10:37:51



 Brookhaven ;"IIatim lall.ahoralOn                                                                                                                                11:;£t'                                                                                      Ad,;cc :'\Q.
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 Upton, NY 11973, ;nOD


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  Brookhaven Nati mal Laboratory                                                                                                                        PU)' GtoUP:                \1;\" -~'lo~dlly l\-0n-I-:\...·lHp~                          Business Unit: SNUB 

  P.o. Bo~ 5000                                                                                                                                         Pay Begi!\ D:;~c'          (If)   I,,'! ;20;0                                           Advice II:     O/iS601S 

  Upton. NY 1 I 973·50! 0                                                                                                                           I
  P;l\' End D.l".           II!'}. \()   20:)                                             Advice Date: 09/30f2010

  t.etesba R Smith                                                                                   Emrl"i cC III UI~(;"
  13 Oakland Drive Nor It                                                                            DCpaf!mull :;l'llA t                      ~ I~'     sECtlRln
  Riverhead. NY 11901                                                                                LOC::ll .. ~n             HUlI":1 '-! (ll~7C


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              Case 8-10-78270-reg                        Doc 1     Filed 10/21/10      Entered 10/21/10 10:37:51




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    l' O. Box 5000                         .                                        tlli131l2ulO                                           <'l:,19Sb
    Upton, NY ll' 73·51100



    Deposit    AmOl.lI     t: 	 $2,790.38
                                                                                      AtXOUnl Type      Ac:c:ount Number            Deposit Amount
    roTh"
    !\ccmmt(s) Of 	             LETESHA R S\UTH
                                                                                      Savings
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                                                                                                                                                $500.00
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                                                                                                                                                            I
                                13 OakJand Drive North
                                Riverhead. NY 11901

                                Location: Building 0197C


                                                                                      1utal:                                                  $2.790.38


                                                               NON-NEGOTIABLE 


     Brookhaven r lational Laboratory
     PO, Box 5000
     Upwn, NY 1197: ·5000

     Letuba It Smilll
     13 Oakland Drive SarU,
     Riverhead. NY I 901




     OescriDlion
     Regular Pay                                                          ..
     OOCIOII.DellliSl Vi it                            150        3S23      550           129.18     Fed FICA Medicate           H.l5             421.14
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     Vacalion Pay                                     2000       469.71   189.50      4.45051
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     Sick Family Mem' er                                           0.00    24.00        563.66
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